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               Exhibit A
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                                                                                                                         FOR COURT USE ONLY
                                               S U M IYI O 1 Vi ~7                                                   (SOLO pARA USO DELA CORTE)
                                           (CITACION JUDICIAL)
                                                                                                                E-FILED
NOTICE TO DEFENDANT:                                                                                            9/24/2020 7:05 PM
(AVISO AL DEMANDADO):
                                                                                                                Clerk of Court
CHUCK ROBBINS, MARK CHANDLER,                                                                                   Superior Court of CA,
Additional Parties Attachment Form is attached.                                                                 County of Santa Clara
YOU ARE BEING SUED BY PLAINTIFF:                                                                                20CV370823
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                             Reviewed By: R. Walker
EDWARD SANCFIEZ, derivatively on behalf of CISCO SYSTEMS,                                                       Envelope: 4993527
INC.,
 NOTICEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after lhis summons and legal papers are served on you to file a written response at this court and have a copy
 selved on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form If you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more Information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program, You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE; The court has a statutory Ilen for waived fees and
 costs on any settlement or arbitration award of $10,000 or more In a clvll case. The court's Ilen must be paid before the ccurt will dismiss the case.
 FA VlSOI Lo han demandado. SI no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versi6n. Lea /a informacl6n a
 continuaci6n.
   Tiene 30 DIAS DE CALENDARIO despu6s de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esfa
 corte y hacer que se entregue una copla a/ demandante. Una carfa o una Ilamada telef6nica no to protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usarpara su respuesta.
 Puede encontrar estos formularios de la corte y m3s informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagarla cuota de presentaci6n, plda al secretario de la cor'te
 que le d6 un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
 podra quitar su sue/do, dinero y bienes sin m8s advertencia.
   Hay otros requisitos legales. Es recomendable que tlame a un abogado tnmedlatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remisi6n a abogados. SI no puede pagar a un abogado, es posible que cumpla con /os requisitos para obtener servicios legales gratuitos de un
 programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de Californta Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Corfes de California, (www,sucorte.ca.gov) o ponicndose en contacto con la corte o e/
 coleg/o de abogados locales. AV1S0: Por fey, !a corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                                    Cs          R
(El nombre y direcci6n de la corte es):                                                                                  3708 23
Superior Court of California, County of Santa Clara
191 N. First Street, San Jose, California 95113
The name, address, and telephone number of plaintifPs attorney, or plaintiff without an attorney, is;
(El nombre, fa direcci6n y e/ nGmero de tel8fono del abogado del demandante, o del demandante que no tiene abogado, es):
Francis A. Bottini, Jr., 7817 Ivanhoe Avenue, Suite 102, La Jolla, CA 92037; 858/914-2001

DATE:                                                                           Clerk, by                                                               Deputy
                                                                                                                  R. Walker
(Fecha9/24/2020 7:05 PM                               Clerk of Court            (Secretario)                                                          (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para pnleba de entrega de esta citati6n use el formulario Proof of Service of Summons, (POS-010)).
                                  NOTICE To THE PERSON SERVED. Y         ou are served
  ISEALI   `'—~ +~ •.
                  r %t - ~•       1. 0 as an individual defendant.
                            i     2.       as the person sued under the fictitious name of (specify):

~r-':~~~'          -— •-~.-          4 ~\
   ~f;.        .1'!-._. ~~Gr~, .._•4Y~,~~
    •j:                           _ - _.~
                           -r =.3;~            3• X on behalf of (speclfy): CISCO SYSTEMS, INC
 ^a,_ s;~.>;'                         ;~..
                                ~, •:~z ,~
                        :i'~r •~~•
~ :, ' ~.._a: ~.- . ,    r:^%ti•' y- ,!   '~      under: (] CCP 416.10 (corporation)           0 CCP 416.60 (minor)
                                                        ~ CCP 416.20 (defunct corporation)     ~ CCP 416.70 (conservatee)
   t~:: _ -•.. ~'.`- -^!
     tiy ••   y,•.,-  U--~ h• Y~
                              l rP                      ~ CCP 416.40 (association or partnership) 0 CCP 416.90 (authorized person)
                               .-.
                ~ + i r •C ~ ~:~:r~
                                                         0 other (specify):
                                               4. C] by personal delivery on (date):

 Form Adopted for Mandatory Use
   Judlciai Council of Callfornla
                                                                          SUMMONS                                              Code of Civll Procedure §§ 412.20, 465
                                                                                                                                                www.couttinto.ca.gov
  SUM•100 tRev. July 1, 20091
                      Case 5:20-cv-07728-NC Document 1-1 Filed 11/02/20 Page 3 of 96



                                                                                                                             SUM-200(A;
    SHORT TITLE:                                                                                CASE NUMeER:

 _ Sanchez v. Robbins, et al.                                                                 20CV370823
                                                           INSTRUCTIONS FOR USE
    ► This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
    ~ If this attachment is used, insert the following statement in the plaintiff or defendant box'on the summons: "Additional Parties
      Attachment.form is attached."

   List additional parties (Check only one box, Use a separate page for each type of party.):

     ❑        Plaintiff         0 Defendant    ❑ Cross-Complainant         ❑ Cross-Defendant

   FRANCINE KATSOUDAS, KELLY A. KRAMER, M. MICHELE BURNS, WESLEY G. BUSH,
   MICHAEL D. CAPELLAS, MARK GARRETT, DR. KRISTINA M. JOHNSON, RODERICK C.
   MCGEARY, ARUN SAR1N, KBE, BRENTON L. SAUNDERS, DR. LISA SU, DOES 1-30, and CISCO
   SYSTEMS, iNC.




                                                                                                                  Page 1 of 1

 FormAdoptedforMendeloryUse
   Judlclal Councll of California             ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 20071                   Attachment to Summons
                      Case 5:20-cv-07728-NC Document 1-1 Filed 11/02/20 Page 4 of 96

                                                                                                                                                                  CM-010
       OR                         State Bar number, andaddn:ss):                                                                  FORCOURTUSEONLY
 ABOTTINIPBG BOTTINI, INC~Y(Name,
   Francis A. Bottini, Jr. (SBN 175783)
   Anne B. Beste (SBN 326881)                                                                                   Electronically Filed
   7817 Ivanhoe Avenue, Suite 102, La Jolla, California 92037                                                   by Superior Court of CA,
                     /
       TELEPHONENO.: 1858) 914-2001                FAXNO.: (858) 914-2002
                            Y
 ATTORNEYFOR(Name): ljlallltlff,            Edward Sanchez                                                      County of Santa Clara,
SUPERIOR COURT OF CALIFORNIA, COUNTY OF             SANTA CLARA                                                 on 9/24/2020 7:05 PM
      STREETADDRESS: 191 N. Flrst Street                                                                        RevieWed By: R. Walker
      MAILINGADDRESS:
     CITY AND ZIP CODE: San JOse,           CA 95113
                                                                                                                        L0CV370
                                                                                                                Vase 1F~y                        823
          BRANCH NAME: DOwntoWn Superlor COurt                                                                  Envelope: 4993527
  CASE NAME:
  Sanchez v. Robbins, et al.
      CIVIL CASE COVER SHEET                                      Complex Case Designation                      ~'~"
                                                                                                                   ~ °1
✓ unlimited
~               0 Limited                                                                                              ~3700
                                                                                                                           9~3
                                                              ~ Counter           ~ Joinder
  (Amount           (Amount
                                                                                                                JUDGE:
  demanded          demanded is                              Filed with first appearance by defendant
  exceeds $25,000)  $25,000 or less)                             (Cal. Rules af Court, rule 3.402)          1      DEPT:
                                             uaubMc-B.lau                                            •n■..r.~• -
    Check one box below for the case type that best describes this case:
    Auto Tort                                   Contract                                             Provisionaily Complex Civil Litigation
    E] Auto (22)                                0 Breach of contract/warranty (06)                   (Cal, Rutes of Court, rules 3.400-3.403)
    0 Uninsured motorist (46)                   0 Rule 3.740 collections (09)                        0 Antitrust/Trade regulation (03)
    Other PI/PD/WD (Personal Injury/Property                0 Other collections (09)                 ~ Constructlon defect (10)
    DamagelWrongful Death) Tort                             0 Insurance coverage (18)                0 Mass tort (40)
    ~ Asbestos (04)                                         0 Other contract (37)                    0 Securities litigation (28)
    0 Product liability (24)                                Real Property                            0 Environmental/Toxic tort (30)
    0 Medical malpractice (45)                                    Eminent domainflnverse             0 Insurance coverage claims arising from the
    0 Other PI/PD/WD (23)                                         condemnation (14)                        above listed provisionally compiex case
                                                                  Wrongful eviction (33)                   types (41)
    Non-PI/PD/WD (Other) Tort
                                                                                                     Enforcement of Judgment
    ~✓ Business tort/unfair business practice (07) ~ Other real property (28)
    0 Civil rights (08)                            Unlawful Detainer                                 = Enforcement of judgment (20)
    0 Defamation (13)                              0 Commercial (31)                                 Miscellaneous Civll Compiaint
    ~ Fraud (16)                                   0 Residential (32)                                0 RICO (27)
    ~ Intellectual property (19)                            0 Drugs (38)                             0 Other compiaint (not specified above) (42)
    0 Professional negiigence (25)                          Judicial Review                          Miscellaneous Civil Petition
    0 Other non-PI/PDMID tort (35)                          0 Asset forfeiture (05)                  ~ Partnership and corporate governance (21)
    Employment                                              0 Petition re: arbitration award (11)    0 Other petition (not speclfied above) (43)
    0 Wrongful termination (36)                             0 Writ of mandate (02)
    = Other employment (15)                                 0 Other judicial review (39)
2. This case FV  —1 is          is not     comDlex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
        ✓ Large number of separately represented parties
     a. ~                                                                    d. 21 Large number of witnesses
     b. M Extensive motion practice raising difficult or novel e. 0✓Coordination with related actions pending in one or more courts
            issues that will be time-consuming to resolve             in other counties, states, or countries, or in a federal court
        ✓ Substantlal amount of documentary evidence
     c. ~                                                                    f. 0 Substantial postjudgmentjudicial supervision

                                             ✓ monetary b.0 nonmonetary; declaratory or injunctive relief
3. Remedies sought (check all that apply): a.0                                                                                                         c. 0✓punitive
4. Number of causes of action (specify): 3; breaches of fiduciary duties and unjt,ist enrichment
5. This case ED is        2:1 is not a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: Septennber 24, 2020
Francis A. Bottini, Jr,                                                                    s/ Francis A. Bottini, Jr.
                                  rTYPF ()R PRINT NAMFI                                             fSIGNATURE OF PARTY OR ATTORNEY FOR PARTYI


  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
     under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq, of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onlr .
                                                                                                                                                                      aae 1 of 2
Form Adopted for Mandetory Uae                                                                                       Cal. ROles of COurt, nlles 2.30, 3.220, 3.400-3.403, 3.740;
  Judiclal Councll of Callfomla
                                                            CIVIL CASE COVER SHEET                                          Cel. Standards of Judlclel Adminlsiratlon, std. 3.10
  CM-010 [Rev. July 1, 2007]                                                                                                                              www.courtlnfo.ca.gov
                    Case 5:20-cv-07728-NC Document 1-1 Filed 11/02/20 Page 5 of 96


                                                                                                                                     CM-010
                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a compiaint) in a civil case, you must
complete and file, along with your first paper, the Clvil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A"coilections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 coliections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Compiex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as compiex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the Case is Complex.                                     CASE TYPES AND EXAMPLES
Auto Tort                                       Contract                                          Provisionaily Complex Civil Litigat[on (Cal.
     Auto (22)-Personal Injury/Property            Breach of ContractNVarranty (06)               Rules of Court Ru[es 3.400-3.403)
          Damage/Wrongful Death                         Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Matorist (46) (if the                        Contract (not unlawful detainer             Construction Defect (10)
          case Jnvolves an uninsured                            or wrongful-eviction)                   Ciaims involving Mass Tort (40)
          motorist claim subject to                     ContractNVarranty Breach-Seller                 Securities Litigation (28)
          arbltration, check this item                      Plaintiff (not fraud or negligence)         Environmental/Toxic Tort (30)
          instead ofAuto)                               Negligent Breach of Contract/                   Insurance Coverage Cla[ms
Other PI/PDNVD (Personal Injury/                            Warranty                                        (arising from provisionally complex
Property DamagelVVrongful Death)                        Other Breach of Contract/Warranty                   case type listed above) (41)
Tort                                               Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                      book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                      Co[[ection Case-Seller Plaintiff                    Abstract of Judgment (Out of
                                                        Other Promissory Note/Coliections                          County)
          Asbestos Personal Injury/
                Wrongfu[ Death                              Case                                             Confession of Judgment (non-
                                                   Insurance Coverage (not provislonally                           domestic relations)
     Product Liability (not asbestos or
          toxic%nvironmenta!) (24)                      complex) (18)                                        Sister State Judgment
     Medical Malpractice (45)                           Auto Subrogation                                     Administrative Agency Award
          Medica[ Ma[practice-                          Other Coverage                                          (not unpaid taxes)
                Physicians & Surgeons              Other Contract (37)                                      Petition/Certification of Entry of
          Other Professional Health Care                Contractual Fraud                                        Judgment on Unpaid Taxes
                Malpractice                             Other Contract D[spute                               Other Enforcement of Judgment
                                                Real Property                                                      Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip           Eminent Domaintinverse                          M[sceilaneous Civil Complaint
                                                        Condemnation (14)                               RICO (27)
                and fa[I)
          Intentional Bodily Injury/PDAND          Wrongful Eviction (33)                               Other Complaint (not specified
                                                                                                             above) (42)
                (e.g., assault, vandalism)         Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                          Dec[aratory Reiief Only
                                                        Writ of Possession of Real Property                  Injunctive Relief Only (non-
                Emotional Distress                      Mortgage Foreclosure                                       harassment)
          Negligent Infliction of                       Quiet Title
                Emotional Distress                                                                           Mechanics Lien
                                                        Other Real Property (not eminent
          Other PI/PD/WD                                                                                     Other Commerclal Complaint
                                                        domain, landlord/tenant, or
                                                                                                                   Case (non-tort/non-complex)
Non-PIIPDNVD (Other) Tort                               foreclosure)
                                                                                                             Other Civil Complaint
     Business TorUUnfair Business               Unlawful Detainer
                                                                                                                  (non-tort/non-complex)
        Practice (07)                              Commercial (31)
                                                                                                    tNiscelianeous Civil Petition
     Civi[ Rights (e.g., discrimination,           Residential (32)                                     Partnership and Corporate
         false arrest) (not civil                  Drugs (38) (if the case involves illega(                  Governance (21)
          harassment) (08)                              drugs, check this Item; otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                  report as Commercial or Residential)                 above) (43)
           (13)                                 Judicial Review                                              Civil Harassment
     Fraud (16)                                    Asset Forfeiture (05)                                     Workp[ace Violence
     Intellectual Property (19)                    Petitlon Re: Arbitration Award (11)                       Elder/Dependent Adult
     Professlonal Neg[igence (25)                  Writ of Mandate (02)                                            Abuse
         Legal Malpractice                              Writ-Administrative Mandamus                         E[ection Contest
         Other Profess[onal Malpractice                 Writ-Mandamus on Limited Court                       Petition for Name Change
              (not medical or legal)                        Case Matter                                      Petition for Relief From Late
      Other Non-PI/PDIWD Tort (35)                      Writ-Other Llmited Court Case                              C[aim
Employment                                                  Review                                           Other Civi[ Petition
     Wrongful Termination (36)                     Other Judicial Review (39)
     Other Employment (15)                              Rev[ew of Health Officer Order
                                                        Notice of Apoeai-Labor

CM-010 [Rev. July 1, 20071
                                                    CIVIL CASE COVER SHEET
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                                                             E-FILED
                                                             9/24/2020 7:05 PM
                                                             Clerk of Court
 1 BOTTINI & BOTTINI, INC.                                   Superior Court of CA,
     Francis A. Bottini, Jr. (SBN 175783)                    County of Santa Clara
 2   Anne B. Beste (SBN 326881)                              20CV370823
     Albert Y. Chang (SBN 296065)
                                                             Reviewed By: R. Walker
 3   Yury A. Kolesnikov (SBN 271173)
     7817 Ivanhoe Avenue, Suite 102
 4   La Jolla, Califomia 92037
     Telephone: (858) 914-2001
 5   Facsimile:     (858) 914-2002
     Attorneys for Plaintiff Edward Sanchez
 6

 7                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                                 COUNTY OF SANTA CLARA

 C
     EDWARD SANCHEZ, derivatively on           Case No.   20CV370823
     behalf of CISCO SYSTEMS, INC.,
10                                             SHAREHOLDER DERIVATIVE
                                               COMPLAINT FOR:
11
                     vs.                         1. BREACH OF FIDUCIARY DUTY,
12   CHUCK ROBBINS, MARK CHANDLER,               2. AIDING AND ABETTING
13   FRANCINE KATSOUDAS, KELLY A.                   BREACH OF FIDUCIARY DUTY,
     KRAMER, M. MICHELE BURNS,                      and
14   WESLEY G. BUSH, MICHAEL D.                  3. UNJUST ENRICHMENT
15   CAPELLAS, MARK GARRETT, DR.
     KRISTINA M. JOHNSON, RODERICK C. DEMAND FOR JURY TRIAL
16
     MCGEARY, ARUN SARIN, KBE,
17   BRENTON L. SAUNDERS, DR. LISA SU,
     and DOES 1-30,
18
                                    Defendan
19
                       - and -
20
     CISCO SYSTEMS, INC.,
21
                           Nominal Defendan
22

23

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mI
     SHAREHOLDER DERIVATIVE COMPLAINT
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                E.        Doe Defendants ...................................................................................................20
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       SHAREHOLDER DERIVATIVE COMPLAINT
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 1
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 3
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 5

 6
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16

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18   X. PRAYER FOR RELIEF
19

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                                                                     3
     SHAREHOLDER DERIVATIVE COMPLAINT
            Case 5:20-cv-07728-NC Document 1-1 Filed 11/02/20 Page 9 of 96




 1             Plaintiff Edward Sanchez ("Plaintiff") submits this Shareholder Derivative
 2       Complaint against certain directors and officers of nominal defendant Cisco Systems,
 3       Inc., ("Cisco" or the "Company") for, inter alia, breaches of fiduciary duties, and unjust
 4       enrichment.. In support of these claims, Plaintiff alleges the following upon (1) personal
 5       knowledge with respect to the matters pertaining to himself; and (2) information and
 6       belief with respect to all other matters, based upon the investigations undertaken by his
 7       counsel, which include Cisco's legal filings, regulatory filings, press releases, analyst
 8       reports, and media reports about the Company. Plaintiff believes that substantial
 9       additional evidentiary support will exist for the allegations set forth below after a
10       reasonable opportunity for discovery.
11 I.          INTRODUCTION
12             Today we're the m.ost diverse Cisco since 1998. This is due in large part to

13 I diversity and inclusion etarting at the top.

14             See Cisco's December 13, 2018 blog on diversity.l

15             1.     Despite this platitude, repeated in its 2019 Corporate Social Responsibility
16 I Report2, Cisco has failed to create any meaningful racial and ethnic diversity at the very

17 I top of the Company — the Board of Directors (the "Board"), the CEO, and the Executive

18 I Leadership Team ("ELT")

19             2.     The Cisco Board has lacked racial and ethnic diversity at all relevant times,
20   I   and is one of the few remaining publicly-traded companies without a single African
21

22             ' See https://blogs.cisco.com/diversity/between-where-we-stand-today-and-where-
         we-go-from-here-theres-a-bridge, December 13, 2018.
23

24        z See https://www.cisco.com/c/dam/m/en_us/about/csr/csr-report/2019/_pdf/csr-
   report-2019.pdf, asserting, e.g., "We are the most diverse Cisco since we began tracking
25 our diversity m 1998," at 38, and "Our culture sets us apart, starting at the top with our
   diverse Executive Leadership Team (ELT)" at 39.
26

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 1       American director. The following are the current members of the Board:
 2                                 M. Michele Burns                                                                                              Weslev G. Bush                                                                   _ ichael D. Capellas
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 9                                    Mark Garrett                                                                                    Dr. Kristina M. Johnson                                                                    Roderick C. McGeary
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16                                  Chuck Robbins                                                                                                Arun Sarin, KBE                                                                  Brenton L. Saunders
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                 Dr. Lisa Su
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              3.                 The Cisco ELT has lacked meaningful racial and ethnic diversity at all
 8
     relevant times, and is one of the few remaining publicly-traded companies without a
 9
     single African American executive leader. The following are the current members of the
10
     ELT and Cisco's Executive Officers:
11

12                                                                    Liz Centoni                                                              Mark Chandler
         Chuck Robbins                                           Senior Vice President,                                                 Executive Vice President,
13     CEO & Chairman of the                                      Strategy, Emerging                                                Chief Legal Officer, & Chief
              Board -- -                                       Technologies & Incubation                                       •-•---.-.. ._
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                                      Eyal Dagan                           Jonathan Davidson
           Amy Chang          Senior Vice President of the               Senior Vice President &
      Executive Vice President Common Hardware Group                   General Manager o Cisco's

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 8
            Gerri Elliott
 9    Executive Vice President,      Francine Katsoudas                      Kelly A. Kramer
      Chief Sales & Marketing      Executive Vice President            Executive Vice President
10             Officer             and Chief People Officer                        CFO


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17                                                                         Todd Nightingale
                                        Maria Martinez                  Senior Vice President &
18           Stella Low           Executive Vice President &              General Manager of
        Chief Communications      Chief Custoiher Experience           Enterprise Networking &
19             Officer                      Officer                              Cloud
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                 Jeetu Patel                                     Mark Patterson
 1         Senior Vice President &                           Senior Vice Presideny,             Irving Tan
             General Manager of                            Chief of Staff to the Office Executive Vice President &
 2         Security & Applications                          of the Chairman & CEO           Chief of Operations
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 9   Michael D. Timmeny
   Senior Vice President, Chief
10    Government Strategy
             Officer
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         II.      NATURE AND SUMMARY OF THE ACTION
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                  4.           Cisco's persistent and pervasive lack of diversity has its roots in early
19
         actions that set the tone of intolerance at the Company. These actions began with the
20
         ouster of the female co-founder of the Company, continues through the Company's all-
21
         white male CEOs, is reinforced by a lack of racial and ethnic diversity at the Board level,
22
         extends through a lack of racial and ethnic diversity at the executive leadership level,
23
         and permeates the ranks of employees, particularly higher-paid technical employees.
24
                  5.           Moreover, with respect to the small amount of diversity in its workforce,
25
         far from being valued for their unique backgrounds and perspectives, Cisco's diverse
26
         employees are regarded as inferior, undervalued, unworthy of inentoring or promotion,
27
         and frequently held out as the paradigmatic example of their category of diversity,
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                                                                                  6
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 1 whether they wish to serve as a role model or not. . It is not surprising that Cisco has

 2     trouble integrating its diverse employees into the Company, not to mention retaining
 3     them as employees at all.
 4            6.     As author Liz Fosslien notes, "Diversity is having a seat at the table.
 5     Inclusion is having_a voice. And belonging is having that voice be heard."
 6            7.     Discussion of race and racism remains challenging, and sometimes difficult I
 7     to address directly, even in 2020. And directors of public companies are not immune
 8     from these difficulties, particularly where, as here, it is their public statements about
 9     diversity, and personal efforts to achieve diverse leadership, that have provoked the
10     inquiry into the falsity of their publicly stated diversity objectives.
11 I          A.     Ouster of Female Co-Founder Lerner
12            8.     Promisingly, Cisco was co-founded in December 1984 by a woman, Sandy
                                                                                      i
13' Lemer ("Lemer'), who counted a master's degree in statistics and computer science'

14     from Stanford University among her many accomplishments.
15            9.     Lemer holds the distinct honor of being one of only two female co-
16     founders of any of the currently listed Fortune 500 companies, with Cisco listed in 2020
17     as number 63 in the rankings.3 Cisco has been listed as a Fortune 500 company since its
18     debut at number 332 on the list in 1997.4
19            10.    Little more than five and a half years after her founding of Cisco, and three
20     years after Cisco debuted on the Fortune 5001ist, in August 1990, Lemer was fired from
21 Cisco by its then CEO, John Morgridge, at the urging of seven white male vice

22     presidents. This firing ushered in an era of white-male domination of the Company that
23
           3 Estee Lauder, the other female co-founded company, is ranked 215 on the 2020
24 Fortune 5001ist.
25         4 Fortune 500 company rankings for 1997, at
   https://fortune.com/fortune5OO/l997/search/?hqState=CA.
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 1     I remains largely intact today.
 a             B.      All White Male CEOs
 3            11.      In its roughly 36-year history, Cisco has had five CEOs, including an early
 4     I months-long interim CEO in 19885 All five CEOs were and are male, and all five CEOs
 5     I were and are white. The Cisco traits that start "at the top" were, are, and continue to be,
 6     I whiteness and maleness.
 7            12.      In 2015, Chuck Robbins, a then 15-year veteran worker for Cisco, became
 8     I its 5th white, male CEO. He came up through Cisco's ranks and holds a bachelor's
 9     degree from the University of North Carolina. In 2017, Chuck Robbins boldly but
10 misleadingly asserted that Cisco had a high concentration of both female and minority

11 leaders, with diversity at the leadership level and diversity in the boardroom. "I think

12 we have been a leader in advocating for an inclusive environment and a diverse

13 workforce," Robbins said. "Honestly, it's just good business, but for us it just happened

14 naturally that the best people for those roles [also matched] what we were looking for on

15 our board ... and that's the way it ought to be." See 2017 Robbins Interview with The

16 Street.6

17            13.      According to the somewhat trite but still relevant adage, actions speak
18 I louder than words. Cisco's proxy materials and Corporate Social Responsibility

19 I Reports going back to at least 2012 demonstrate that there have been no African-

20 Americans, no Hispanics, no American Indians, no Alaska Natives, no native

21'    Hawaiians and no Pacific Islanders on the Board. Currently, and for at least the past
22 ,
              5   William Graves, 1987-1988; interim CEO, 1988; John Morgridge, 1988-1995; John
23 Chambers, 1995-2015; Chuck Robbins, 2015-present.

24         6 "Cisco's Chuck Robbins Says Tech's Diversity Problem'Should Be a Nonissue,"'
   THE STREET, by Annie Palmer, Aug. 21, 2017.
25 https: //www. thestreet. com/investhzg/stocks/cisco-s-chuck-robbins-s ays-tech-s-diversity-
   problem-should-be-a-nonissue-14277237.
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 1 eight years, the only non-female ethnic minority serving on the Board is Arun Sarin. Mr.

 2       Sarin, born in India, is listed as Asian and is an honorary Knight of the British Empire.
 3              14.    Cisco states in its 2019 Corporate Social Responsibility Report that "[w]e
 4       are the most diverse Cisco since we began tracking our diversity in 1998." Among I,
 5       Cisco's Board and Executive Officers, however, diversity is conspicuously absent.
 6              15.    Cisco's Board, which has no Black individuals, has consciously failed to
 7       carry out Cisco's written proclamat-ions about increasing full-spectrum diversity in its
 . own ranks. The Board, as well as the Company's Executive Leadership team, remain
 M

 9       devoid of Black people and significant other minorities. Instead, Cisco lumps race and
10       ethnicity with gender in its diversity statistics, misleadingly labeling the presence of
11 women on the Board as "full-spectrum" diversity. A sign advising applicants "Blacks

12       Need Not Apply" might as well hang at the entrance to the Company's headquarters at
13 170 W. Tasman Drive in San Jose, California.

14              16.    The Company also is st-ill today, in 2020, dominated by males, with 74% of
15 its global workforce consisting of males and 79% of its Vice Presidents consisting of

16 males and just 21% female. African Americans make up just 3.8% of Cisco's U.S.

17       workforce, and there are no Blacks on the Board or am.ong the Company's Executive
18       Leadership team.
19              17.    Simply put, Cisco's Directors have deceived stockholders and the market
20       by repeatedly lying about the Company's commitment to racial and ethnic diversity. In
21 doing so, the Directors have breached their duty of candor and have also violated the

22   I   federal proxy laws. Their conduct has also irreparably harmed Cisco. For those who
23 I I care about diversity, inclusion, and honesty, those who do not adhere to these principles

24 ' should be boycotted, especially if the perpetrator is one of the largest and most

25       influential corporations in Silicon Valley.
26              18.    Every business entity — whether publicly traded or not — has certain legal
27       obligations and responsibilities to its shareholders, customers, investors, and the public.
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 1 I These responsibilities include the obligation to be truthful and honest; to actually I

 2 I implement the policies and procedures that it represents it has adopted; and to not I

 3 I engage in racial discrimination, whether it is in its workforce or leadership positions.

 4 I Cisco has failed on these counts.

 5         19.     Moreover, a company's statements about Board diversity are highly I
 6 I material to investors.' In the 2016 edition of its governance principles, the Business I

 7 I Roundtable, an influential association of chief executives of American companies,

 8   strongly endorsed a link between racial and ethnic diversity in boards and board I
 9   effectiveness and the creation of long-term shareholder value. In doing so, the I
10   association made the first substantive "business case" for ethnic and gender diversity.$
11 By correlating diverse boards with greater board effectiveness and the promotion of

12   long-term value creat-ion, the Business Roundtable's recommendattion transcends public
13 policy debates and moral imperatives. It is the most prominent acknowledgment of

14   diversity as a governance principle, and a standard that nominating committees are
15 advised to adopt. It does not retreat from principles of competency-based governance as

16   much as it recasts concepts of competency in a more inclusive manner — one that
17   attributes new value to skills, experience and expertise that is reflective of the broader
18   range of society.9
19

20

21           ' See Arleen Jacobius, "Calpers Turns Focus to Board Diversity in Proxy Voting,"
     PENSIONS & INVESTMENTS, Sept. 17, 2018 (in 2018, Calpers voted against 438 directors at
22   141 different companies based on the companies' failure to respond to Calpers' efforts to
     increase board diversity).
23
             $ See Michael W. Peregrine, "Corporate Board Diversity Gets Push From Business
     Leaders,"       NEw      YOIZIc     TIMES,     Oct.    12,    2016,      available     at
24   https://www.nytimes. com/2016/10/14/business/dealbook/corporate-board-diversity-gets-
     push-from-business-leaders.html?searchResultPosition=l, last visited Sept. 16, 2020.
25
             9 Id.
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 1          20.    Founded in 1984, Cisco's Board today in 2020 has no African-Americans, I
 2   no Latinos, and no other racial or ethnic minority save Asian-Americans; and Cisco's
 3 self-published statistics dating back to at least 2015 demonstrate the same lack of

 4   diversity. And, no diverse appointments are in the offing. Significantly, while Cisco's
 5   Robbins was asserting that Cisco was "drivuzg diversity and inclusion throughout our
 6   entire organization," see Cisco 2019 CSR Report at 3(emphasis supplied), even the

 7   female gender representation at the Board level declined from 33 percent (2017) to 27
 8   percent (2018) to 20 percent (2019).
 9          21.    Cisco's ELT today in 2020 has no African-Americans; and Cisco's self- I
10   published statistics dating back to at least 2015 demonstrate the same lack of diversity.
11 Yet, Cisco consistently groups gender and diversity statistics in a way that misleads

12   investors and the public into believing Cisco has achieved greater diversity at the Board
13 and ELT levels than it has. See Cisco 2019 Annual Report, at 7.

14          22.    This lawsuit is about deception and a lack of truthfulness and effort on the
15   part of the Board to fulfill their fiduciary duties which have resulted in racial
16   discrimination in its leadership positions and have otherwise worked to the detriment of
17   the Cisco shareholders.
18          23.    As recently as March 2020, Cisco agreed to pay $2,000,000 in lost wages
19   and interest to affected employees, and pay an additional $2,750,000 over the next five
20   years in pay-equity adjustments to its employees due to a Department of Labor ("DOL")
21   claim that "the company paid zvomen, black and Hispanic employees less than
22 I comparable male and white employees in similar positions." See March 16, 2020 DOL

23   News Release. Statistics dori t lie, and Cisco's Board and ELT reveal one of the lowest
24   prevalence of Black individuals in Silicon Valley.
25          24.    Platitudes in proxy statements and Corporate Sustainability Reports are
26   not progress. Simply put, Cisco has no real commitment to diversity and its Board is
27   turning a blind eye to the Company's failure to ensure the "diversity" trumpeted by the
 :
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 1 I Directors in Cisco's public statements and filings with the Securities and Exchange

 2   I       Commission ("SEC") and its annual proxy reports to shareholders.
 3                 25.     The Director Defendants named herein all signed each of Cisco's aruzual
 4   I       proxy statements. With such signatures come an obligation to ensure that the statements
 5   I       in the Proxy were true and accurate, and to correct any misleading statements. They
 6 I failed to do so.

 7                  26.    As demonstrated herein, the Defendants knew of, but failed to disclose,
 8           unlawful business practices at Cisco that put the Company at material risk — namely,
 9           discriminatory hiring and compensation practices. Had this information been disclosed,
10           shareholders would not have voted to re-elect Board members, approve executive
11 compensation packages, and reject an independent board chairman.

12                  27.    The time for change has come. If Cisco's directors want to continue to be
13 part of the problem, not the solution, then they at least need to be held liable for their

14           breaches of fiduciary duty to the Company's stockholders. If, on the other hand, they
15 want to be part of real change, they hold the keys themselves. They can (and should),

16 stand up and exercise the control of Cisco that they possess to make change NOW.

17                  28.    The shareholder derivative lawsuit has been the only judicial mechanism
18   I       for shareholders to hold directors accountable for engaging in wrongdoing. Like the
19       I   United State Supreme Court, California courts have long recognized that derivative suits
20       I   play an important role in corporate governance where directors fail to do their jobs:
21                        The derivative action is practically the only remedy for calling the
                    management to account for its wrongs against the corporation and to
22                  obtain restitution. Where a derivative suit is against outsiders for wrongs
                    against the corporation the directors can usually be expected to decide
23                  impartially on the advisability of suing. But the management cannot be
                    expected to sue themselves for their own misdeeds.
24
             Pearce v. Super. Ct., 149 Cal. App. 3d 1058, 1065 (1983); see also Uega v. Jones, Day, Reavis &
25
             Pogue, 121 Cal. App. 4th 282, 297 (2004); accord Kamen v. Kemper Fin. Servs., 500 U.S. 90, 95
26
             (1991) (quoting Cohen v. Beneficial Indus. Loan Corp., 337 U.S. 541, 548 (1949)). As the
27
             California Supreme Court recognized in Jones v. H. F. Ahmanson & Co., where, as here,
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                                                          12
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 1 the company's board and management fail to perform their duties, stockholders have a

 2   "right" to bring derivative actions. See 1 Cal. 3d 93, 107 (1969). The courts of Delaware,
 3   Cisco's state of uzcorporation, likewise acknowledge that derivative actions serve an
 4   important function: "The machinery of corporate democracy and the derivative suit are
 5   potent tools to redress the conduct of a torpid or unfaithful management." Aronson v.
 6   Lewis, 473 A.2d 805, 811 (Del. 1984), overruled in part on other grounds by Brehrn v. Eisner,

 7   746 A.2d 244 (Del. 2000).
 8         29.     Plaintiff, derivatively on behalf of Cisco, seeks the following relief from the
 9   Director Defendants:
10                 (a)    At least three of Cisco's directors should immediately resign prior to
11          the Company's annual meeting which is scheduled for November 2020 and
12         should insist that the Company nominate three new persons to serve in their
13         stead, which applicants should include two Black persons and one other minority;
14                 (b)    All Director Defendants named in this suit should return all their
15          2020 compensation received from Cisco (including any stock grants), and donate
16          the money to an acceptable charity or organization whose efforts include the
17          advancement of Black people and minorities in corporate America;
18                 (c)    Cisco should agree to add more particularized information in its
19          annual CSR Report about the hiring, advancement, promotion, and pay equity of
20          all minorities at Cisco;                                                        -
21                 (d)    Cisco should replace Chuck Robbins as executive Chairman of the
22          Board; Robbins is not independent, and the lack of a truly independent Chairman
23          at Cisco has been a big part of the reason Cisco has not sufficiently made any real
24          progress at achieving diversity.
25                 (e)    Cisco should create a$775 million fund to hire Black iridividuals
26          and other minorities, promote minorities to more management positions at the
27          Company, establish and maintain a mentorship program at Cisco for minorities
28
                                                  13
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 1         that is committed to providing the skills and mentorship necessary to succeed in
 2         corporate America;
 3                (f)    Cisco should require annual training of its entire Board and all
 4         Section 16 executive officers, including the ELT, which training should at a
 5         minimum focus on diversity, affirmative action, anti-discrirnination and anti-
 6         harassment, and other relevant topics.
 7                (g)    Cisco should immediately set specific goals with respect to the
 8         number of Black individuals and minorities to hire at the Company over the next
 9         five years, and Cisco should adopt a revised executive compensation program
10         that makes 30% of executives' compensation tied to the achievement of the
11         diversity goals.
12                (h)    Cisco should replace PricewaterhouseCoopers LLP ("PwC") as its
13         auditor. Cisco is one of PwC's largest customers, listed in 2020 as PwC's 22nd
14         largest client by audit revenues alone.10 PwC (and its pre-merger predecessor
15         Coopers & Lybrand L.L.P.) has served as Cisco's auditor since 1988,11 giving rise
16         to a cozy and clubby relationship between PwC and Cisco which is not conducive
17         to effective auditing. The Company's compliance with its stated policies
18         concerning the alleged commitment to racial and ethnic diversity at the Board and
19         ELT have been abysmal to the point of being basically non-existent. The very
20         purpose of an auditor is to assess the Company's internal controls and determine
21         if they are functioning effectively. Rather than doing so, PwC has wrongfully and
22         consistently given Cisco's internal controls a clean bill of health and has failed to
23

24         'o See https://big4accountingfirms.com/pwc-audit-clients-list/.
25          " 2019 Proxy Statement, at 57, states: "PwC has audited Cisco's consolidated
     financial statements annually since fiscal 1988."
26

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 1            point out the obvious — that Cisco lacks an effective system of internal controls to
 2           ensure that the Company is not discriminating against minorities and is
 3            complying with its stated goals and initiatives regarding the promotion of
 4            diversity and the avoidance of discrimination at the top levels.
 5           30.    The Individual Defendants' misconduct has caused severe financial and
 6   I reputational damage to Cisco. The DOL claims which alleged pay discrimination
 7   I against women and minorities resulted in a payout of almost $5,000,000.
 8,          31.    While systematically underpaying minorities and women, Cisco's CEO has
 9I I used the money saved to pay himself outsized amounts. Defendant Robbins is ranked
10 I1   26th on a 2019 list of the 100 highest paid CEOs. He made $21.3 million in compensation
11 in one year — more than tzuo hundred times greater than the average worker's salary.1z

12           32.    As set forth below, Defendants' conduct constitutes bad faith and disloyal
13 I acts, giving rise to claims that fall outside the scope of the business judgment rule and

14 outside of permissible indemnification by Cisco. As a result, all members of the Board

15 face a substantial likelihood of liability and any demand on them to bring this case

16 would be a futile and useless act.

17 III. JURISDICTION AND VENUE

18           33.    This Court has jurisdiction because the Defendants conduct business in
19 I Califomia, including, but not limited to, the conduct here at issue, and because they have

20 sufficient minimum contacts with Califomia to render the exercise of jurisdiction by the

21

22         'z Michael B. Sauter, "These are the highest-paid CEOs at America's largest
   companies," USA TODAY, A ri130, 2019.
23 https://www.usatoday. com~tory/money/2019/04/30/highest-paid-ceos-at-americas-
   largest-companies-tim-cook-robert-iger/39389897/; "Average Salary for Cisco Systems,
24 Inc. Employees",
   https://www.payscale.com/research/US/Employer=Cisco_Systems_Inc/Salary#:-:text=Cis
25 co%20Systems%201nc%20employees%20with%20the%20job%20title,the%20title%20Net
   work%20Administrator%20make%20the%201east%20.
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 1 Califomia courts permissible under traditional notions of fair play and substantial

 2   justice. The Court has jurisdiction over Cisco because Cisco is headquartered in San
 3 Jose, Califomia and has substantial business operations in California.

 4         34.    Venue is proper in this Court because the conduct at issue took place and
 5   has effect in this County. The Company's headquarters and principal place of business
 6   are located at 170 W. Tasman Drive, San Jose, California 95134.
 7 I IV. THE PARTIES

 8         A.     Plaintiff
 9         35.    Plaintiff Edward Sanchez is a current shareholder of Cisco, and has
10 I continuously held Cisco stock at all relevant times. Plaintiff is a resident and citizen of

11 I Califomia.

12         B.     Nominal Defendant
13         36.    Cisco Systems, Inc. is a Califomia corporation with its headquarters at 170
14   W. Tasman Drive, San Jose, California 95134, in the center of Silicon Valley. Cisco is an
15   American multinational technology conglomerate that develops, manufactures and sells
16 networking hardware, software, telecommunications equipment and other high-

17   technology services and products. Through its numerous subsidiaries, such as
18   OpenDNS, Webex, Jabber and Jasper, Cisco specializes in specific tech markets, such as
19   the Internet of Things (IoT), domain security and energy management. Cisco is a
20   California corporation and citizen of California.
21         C.     Executive Officer Defendants
22         37. Defendant Chuck Robbins is the Chairman and CEO of Cisco. Robbins has
23 been a member of the Board of Cisco Systems, Inc. since May 2015, has served as its

24   chairman since December 2017, and has been CEO since July 2015. He joined the
25   Company in 1997 and held various managerial positions in sales until being elevated to
26   the position of Vice President in 2002. He is a member of the board of directors of
27   B1ackRock, Inc., which is the Company's second largest shareholder, owning 323,233,397
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 1 shares, or 7.6% of all outstanding shares. Robbins lives in Los Gatos, which is part of
 2   Santa Clara County.
 3         38.    Defendant Mark Chandler is an Executive Vice President, Chief Legal
 4 Officer, and is also Cisco's Chief Compliance Officer. In these roles, he oversees Cisco's
 5   global legal activities and policies, as well as ethics, compliance and regulatory affairs,
 6 employee relations, investtigations, and brand protection. He has been General Counsel
 7   since 2001. Chandler lived in San Francisco, California.
 8         39.    Defendant Francine Katsoudas is Executive Vice President and Chief
 9 People Officer of Cisco. She plays a major role in the Company's overall performance,
10 leading organizational strategy, promoting operational effectiveness, and ensuring team
11 performance. As Cisco's Chief People Officer, Katsoudas is responsible for diversity and
12   inclusion efforts at the Company. Katsoudas has filled various leadership roles at Cisco
13 for over 20 years. She lives in Los Gatos, which is part of Santa Clara County.
14          40.   Defendant Kelly A. Kramer is Executive Vice President and Chief Financial
15 Officer (CFO) at Cisco, managing financial strategy, and overseeing all financial

16   functions, corporate development, mergers, acquisitions, integrations and investor
17   relations for the Company with total revenue for fiscal year 2019 of $51.7 billion and
18   more than 76,000 employees. Before being named CFO in 2015, Kramer was'Senior Vice
19 President of Business Technology and Operations Finance, partnering with the
20   Development organization across business groups, segments, and operations on
21 strategic long-range planning, budgeting, and forecasting new-offer development, as
22   well as the analysis and strategy of product pricing. In addition, her organization
23   managed finance for the company's supply chain, marketing, corporate communications,
24   operations, HR, and IT groups. Kramer joined Cisco in 2012 as Senior Vice President of
25   Corporate Finance. She lives in Half Moon Bay, California.
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             D.     Director Defendants
 1
             41.    Defendant M. Michele Burns has been a member of the Cisco Board during
 2
      I all relevant times, and began her tenure on the 'Board in 2003. Burns was working as the
 3
      I CFO for Delta Airlines, Inc. when she was appointed to the Cisco Board. She currently
 4
      I serves on the Audit Committee and is the chair of the Finance Committee.
 5
          ' 42.     Defendant Wesley G. Bush joined the Cisco Board in May 2019. Prior to
 6
      that, Bush served as the CEO of Northrop Grumman Corp. ("Northrop") from 2010
 71
      through 2018 and was the chairman of the board of Northrop from 2011 through 2019.
 M
 .
      He currently serves on the Compensation and Management Development Committee
 7
      I and the Finance Committee.
10
             43.    Defendant Michael D. Capellas was a member of the Cisco Board during
11
      all relevant times and joined the Board in 2006. Capellas has served as founder and CEO
12
      of Capellas Strategic Partners ("CSP") since 2012. Capellas has served as President or
13
      CEO for various large corporations before forming CSP. He serves as the Chair of both
14
      the Acquisition Committee and the Nomination and Governance Committee.
15
             44.    Defendant Mark Garrett was a member of the Cisco Board during all
16
      relevant times. He has been a member of the Board since April 2018. Garrett served as
17
      Executive Vice President and Chief Financial Officer of Adobe Systems Incorporated
18
      from February 2007 to April 2018.. From January 2004 to February 2007, Garrett served
19
      as Senior Vice President and Chief Financial Officer of the Software Group of EMC
20
      Corporation. From August 2002 to January 2004 and from 1997 to 1999, Mr. Garrett
21
      served as Executive Vice President and Chief Financial Officer of Documentum, Inc.,
22
      including throughout its acquisition by EMC in December 2003.
23
             45.    Defendant Dr. Kristina M. Johnson was a member of the Cisco Board
24
      during all relevant times. She has been a member of the Board since August 2012. Dr.
25
      Johnson has served as the chancellor of the State University of New York since
wou
      September 2017. From January 2014 to September 2017, Dr. Johnson served as the Chief
27
      Executive Officer of Cube Hydro Partners, LLC, a clean energy company, and a joint
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 1'   venture between Enduring Hydro, a company she founded in January 2011 and I
 2    Squared Capital, a private equity firm.
 3           46. Defendant Roderick C. McGeary was a member of the Cisco Board during
 4    all relevant times. He has been a member of the Board since July 2003. He served as
 5    Chairman of Tegile Systems, Inc. from June 2010 to June 2012. From November 2004 to
 6    December 2009, he served as Chairman of the Board of BearingPoint, Inc. and also was
 7    interim Chief Executive Officer of BearingPoint from November 2004 to March 2005.
 8    McGeary currently serves on the boards of directors of PACCAR Inc. and Raymond
 9    James Financial, Inc.
10           47. Defendant Arun Sarin, KBE was a member of the Cisco Board during all
11    I relevant t-imes. He has been a member of the Board since September 2009 and
12    previously served on the Board from September 1998 to July 2003. In April 2003, he
13    became CEO designate of Vodafone Group Plc and served as its Chief Executive Officer
14    from July 2003 to July 2008. Sarin also served as a member of the board of directors of
15    that company from 1999 to 2008. From July 2001 to January 2003, he was Chief
16    Executive Officer of Accel-KKR Telecom. He was the Chief Executive Officer of
17    InfoSpace, Inc., and a member of its board of directors from April 2000 to January 2001.
18    He currently serves on the boards of directors of Accenture plc, Cerence Inc. and The
19    Charles Schwab Corporation.
20           48. Defendant Brenton L. Saunders was a member of the Cisco Board during
21    all relevant times. He has been a member of the Board since March 2017. Saunders has
22    served as CEO and President of Allergan plc since July 2014. He has been a board
23    member of Allergan plc since July 2014 and has served as its Chairman since October
24    2016. Saunders previously served as Chief Execut-ive Officer and President of Forest
25    Laboratories, Inc. from October 2013 until July 2014 and had served as a board member
26    of Forest Laboratories, Inc. beginning in 2011.
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 1          49.    Defendant Dr. Lisa Su was a member of the Cisco Board during all relevant
 2    times. She has been a member of the Board since January 2020. Dr. Su joined AMD in
 3    2012 and has held the position of President and Chief Executive Officer since October
 4    2014. She also serves on AMD's Board of Directors. Previously, Dr. Su served as Senior
 5    Vice President and General Manager, Networking and Multimedia at Freescale
 6    Semiconductor, Inc., and was responsible for global strategy, marketing and engineering
 7    for the company's embedded communications and applications processor business.
 8          50.    The defendants identified in paragraphs 37 through 40 are referred to
 9    herein as the "Executive Officer Defendants." The Defendants identified in paragraphs
10    41 through 49 are referred to herein as the "Director Defendants." Collectively, all
11 defendants are referred to herein as the "hldividual Defendants."

12          E.     Doe Defendants
13'         51.    Except as described herein, Plaintiff is ignorant of the true names of
14 I defendants sued as Does 1 through 30, inclusive, under California Code of Civil

15 Procedure section 474 and, therefore, Plaintiff sues these defendants by such fictitious

16 names. Following further investigation and discovery, Plaint-iff will seek leave of this

17    Court to amend this Complaint to allege their true names and capacities when
18    ascertained. These fictitiously named defendants are Cisco officers, other members of
19 management, employees, and/or consultants or third parties who were involved in the

20    wrongdoing detailed herein. These defendants aided and abetted, and participated with
21 and/or conspired with the named defendants in the wrongful acts and course of conduct

22    or otherwise caused the damages and injuries claimed herein and are responsible in
23 , some manner for the acts, occurrences, and events alleged in this Complaint.

24          F.     Unnamed Participants
25          52.    Numerous individuals and entities participated actively during the course
26    of and in furtherance of the wrongdoing described herein. The individuals and entities
27    acted in concert by joint ventures and by acting as agents for principals, to advance the
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 1 objectives of the scheme and to provide the scheme to benefit defendants and themselves
 2 to the detriment of Cisco.

 3 V. RESPONSIBILITIES AND DUTIES OF THE INDIVIDUAL DEFENDANTS

 4         A.     Responsibilities of the Individual Defendants
 5         53.    Corporate officers and directors owe the highest fiduciary duties of care
 6   and loyalty to the corporation they serve.
 7         54.    Board Members and Executive Officers are held to the highest level of
 8 ethics and compliance with the law.
 9         55.    The Company's Code of Business Conduct ("COBC") states that "[t]he
10 COBC applies to all Cisco employees, subsidiaries, and members of our Board of
11 Directors."
12         56.    The Company's Code of Business Conduct ("COBC") states that:
13         We do not discriminate. We are proud of our global workforce. In all of our
           employment processes — recruiting, hiring, developing, and promoting
14         employees — decisions are made without regard to gender, race, color,
           national origin, ancestry, citizenship, religion, age, physical or mental
15         ability, medical condition, genetic information, pregnancy, sexual
           orientation, gender identity or gender expression, veteran status, or marital
16         status, or any other basis protected by law.
17
           57.    The Company's COBC also states that:
18
           Corporate Social Responsibility is integrated into our business strategy and
19         functions. It's core to our purpose, our culture, and how we invest our
           resources. We focus on issues most relevant to our business and where we
20         believe we can have the greatest impact. From our culture of integrity and
           inclusion, our strategic mvestments m building skills for the jobs of the
21         future, and the way we manage and support our global supply chain, to
           how we operate in support of environmental sustainability, our CSR and
22         business strategies are tightly integrated.

23         58.    The Board obviously knew that it was white and lacked racial and ethnic,
24   or non-gender, diversity. The Board and the Executive Officers also knew that racial and
25   ethnic diversity was lacking in the Company's ELT and, to a lesser extent, the overall
26   workforce. The Defendants' knowledge of the problem is reflected by their efforts to
27   conceal the lack of racial and ethnic diversity by presenting combined gender and
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 1   I ethnicity statistics.
 2           59.      The Board is responsible for oversight and compliance with the Company's
 3   internal controls regarding diversity, anti-discrimination, pay equity, hiring and
 4   promotion. As alleged herein, the Company's Board failed to act in good faith by failing
 5   to ensure compliance with these policies and controls, which existed on paper, but were
 6   knowingly disregarded.
 7           60.      Cisco's 2019 Proxy statement asserts that:
 8           The Board of Directors, acting directly and through its committees, is
             responsible for the oversight of Cisco's risk management. With the
 9           oversight of the Board of Directors, Cisco has implemented practices,
             processes and programs designed to help manage the risks to which we are
10           exposed in our busmess and to align risk-taking appropriately with our
             efforts to increase shareholder value.
11

12           61.      The most glaring and recent evidence of the Board's lack of ineaningful

13 oversight of racial and ethnic discrimination in pay and treatment is highlighted in a
14 recently filed government lawsuit ("the Caste Discrimination Lawsuit"):

15           "California regulators sued Cisco Systems Inc on Tuesday [June 30, 20201,
             accusing it of discriminating against an Indian-American employee and
16           allowing him to be harassed by two managers because he was from a lower
             Indian caste than them. ... That caste hierarchy was enforced in the
17           workplace, according to the lawsuit, which accuses the two former
             engineering managers of harassment. ... At Cisco, the unnamed employee
18           reported his manager to human resources in November 2016 for outing his
             caste to colleagues. The mana er allegedly retaliated, but Cisco determined
19           caste discrimination was not i~legal and issues continued through 2018, the
             lawsuit states. Cisco reassigned the employee's duties and isolated him
20           from colleagues, rejected a raise and opportunities that would have led to
             one and denied him two promotions, according to the lawsuit."13
21
             62.      The Board knew the Company had policies in place on paper, but they
22
     I failed to give the policies any teeth or enforcement. The Board's conduct represented
23
24
          13 "California Accuses Cisco of Job Discrimination Based on Indian Employee's
25 Caste," REUTERs, July 1, 2020; https://www.newsl8.com/news/world/california-accuses-
   cisco-of-job-discrimination-based-on-indian-employees-caste-2695123.htm1.
26
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 1 hypocrisy, bad faith, and disloyal conduct. The Board had a duty to cause the Company

 2'i to comply with the law and its own Code of Ethics and Business Conduct, and failed to

 3'I I do so.

 4              63.   The direct involvement of Cisco's Board makes them interested in the
 5 I outcome of this litigation because they face a substantial likelihood of liability. Demand
   1
 6i I is thus futile.

 7,             B.    Fiduciary Duties of the Individual Defendants
 8 i            64.   By reason of their positions as officers and directors of the Company, each
 9     of the Individual Defendants owed and continue to owe Cisco and its shareholders
10     fiduciary obligations of trust, loyalty, good faith, and due care, and were and are
11 required to use their utmost ability to control and manage Cisco in a fair, just, honest,

12     and equitable manner. The Individual Defendants were and are required to act in
13 furtherance of the best interests of Cisco and not in furtherance of their personal interest

14     or benefit.
15              65.   To discharge their duties, the officers and directors of the Company were
16     required to exercise reasonable and prudent supervision over the management, policies,
17     practices, and controls of the affairs of the Company. By virtue of such duties, the
18 I officers and directors of Cisco were required to, among other things:

19                    (a)    conduct the affairs of the Company in an efficient, business-like
20              manner in compliance with all applicable laws, rules, and regulations so as to
21              make it possible to provide the highest quality performance of its business, to
22              avoid wasting the Company's assets, and to maximize the value of the
23              Company's stock; and
24                    (b)    remain informed as to how Cisco conducted its operations, and,
25              upon receipt of notice or information of imprudent or unsotuld conditions or
26              practices, make reasonable inquiry in connection therewith, and take steps to
27              correct such conditions or practices and make such disclosures as necessary to
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 1          comply with applicable laws.
 2          C.     Breaches of Fiduciary Duties by Individual Defendants
 3         66.     The conduct of the Individual Defendants complained of herein involves a
 4   knowing and culpable violation of their obligations as officers and directors of Cisco, the
 5   absence of good faith on their part, and a reckless disregard for their duties to the
 6   Company.
 7         67.     The Individual Defendants breached their duty of loyalty and good faith
     by allowing defendants to cause, or by themselves causing, the Company to cover up
 9   Cisco's discrimination, and caused. Cisco to incur substantial damage.
10         68.     The Individual Defendants, because of their positions of control and
11 authority as officers and/or directors of Cisco, were able , to and did, directly or

12 I indirectly, exercise control over the wrongful acts complained of herein. The Individual

13' Defendants also failed to prevent the other Individual Defendants from taking such

14   improper actions. As a result, and in addition to the damage the Company has already
15 incurred, Cisco has expended, and will continue to expend, significant sums of money.

16         D.      Conspiracy, Aiding and Abetting, and Concerted Action
17         69.     At all relevant times, Individual Defendants were agents of the remaining
18   Individual Defendants, and in doing the acts alleged herein, were acting within the
19   course of scope of such agency. The Individual Defendants ratified and/or authorized
20   the wrongful acts of each of the other Individual Defendants. The Individual
21 i Defendants, and each of them, are individually sued as participants and as aiders and

22 ' abettors in the improper acts, plans, schemes, and transactions that are the subject of this

23   Complaint.
24         70.     In committing the wrongful acts alleged herein, the Individual Defendants
25   have pursued, or joined in the pursuit of, a common course of conduct, and have acted
26   in concert with and conspired with one another in furtherance of the improper acts,
27   plans, schemes, and transactions that are the subject of this Complaint. In addition to
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 1 the wrongful conduct herein alleged as giving rise to primary liability, the Individual

 2   Defendants further aided and abetted and/or assisted each other in breaching their
 3 I respective duties.

 4         71.      The Individual Defendants engaged in a conspiracy, common enterprise,
 5   and/or common course of conduct, by failing to maintain adequate intemal controls at
 6   the Company and covering up discrimination at the Company.
 7         72.      During all times relevant hereto, the Individual Defendants, collectively
 8   and individually, initiated a course of conduct that was designed to and did circumvent
 9 I the internal controls at the Company and caused the Company to cover up Cisco

10   executives' discrimination. In furtherance of this plan, conspiracy, and course of
11 conduct, the Individual Defendants, collectively and individually, took the actions set

12 Iforth herein.

13         73.      The purpose and effect of the Individual Defendants' conspiracy, common
14   enterprise, and/or common course of conduct was, among other things, to disguise the
15   Individual Defendants' violations of law, breaches of fiduciary duty, and waste of
16 I corporate assets; and to conceal adverse information concerning the Company's

17 I operations.

18         74.      The Individual Defendants accomplished their conspiracy, common
19 1 I enterprise, and/or common course of conduct by intentionally circumventing intemal

20   controls at the Company and causing the Company to cover up discrimination at the
21 Company. Because the actions described herein occurred under the authority of the

22   Board, each the Individual Defendants was a direct, necessary, and substantial
23 I participant in the conspiracy, common enterprise, and/or common course of conduct

24 I complained of herein.

25         75.      Each of the Individual Defendants aided and abetted and rendered
26   substantial assistance in the wrongs complained of herein. In taking such actions to
27   substantially assist the commission of the wrongdoing complained of herein, each
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 1' Individual Defendant acted with knowledge of the primary wrongdoing, substantially
 2'i assisted in the accomplishment of that wrongdoing, and was aware of his or her overall
 3 contribution to and furtherance of the wrongdoing.
 4                   E.                  The Directors' Roles and Committees at Cisco
 5                   76.                 The following chart sets forth the directors of Cisco as set forth in the
 6     Company's most recent Proxy Statement and the committees on which they serve:
 7

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22 VI.               SUBSTANTIVE ALLEGATIONS
23                   77.                 Cisco says that its commitment to diversity starts at the top. If that is true,
24 then Cisco is not actively committed to diversity at the Company. The statistics bear this
25 out. Cisco's Board has no Black members. There are no Blacks on Cisco's executive
26 management team. Overall, there are a meager 3.8% Black employees at the Company.
27 Cisco's proxy materials and Corporate Social Responsibility Reports going back to at

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 1 least 2012 demoiastrate that there have been no African-Americans, no Hispanics, no

 2   American Indians, no Alaska Natives, no native Hawaiians and no Pacific Islanders on

 3 U1177-001=1

 4         78.    The lack of diversity at the top at Cisco is significant. The Board bears
 5 ultimate responsibility for ensuring the Company's compliance with federal and state

 6 laws prohibiting discrimination based on race, gender, and other factors. Diversity in

 7   the workforce is a strong indication of a lack of discrimination; conversely, a lack of
 8   diversity provides a strong indication that discrimination is present.
 9         A.     At All Relevant Times, the Individual Defendants Have Had Actual
                  Knowledge that Cisco has Repeatedly Violated Anti-Discrimination
10                Laws, and That Cisco Has Failed to Comply with Its Own Policies of
                  Promoting Diversity and Prohibiting Discrimination, Yet the Individual
11                Defendants Have Continued to Refuse to Nominate Black Individuals
                  and Minorities to the Board
12
            79.   Cisco, led by Chuck Robbins and the Board, has consistently failed to
13
     appoint Black individuals and minorities to its Board and to management positions
14
     within the Company.
15
           80.     Cisco's overall workforce, as of 2019, was 89 percent white or Asian, and a
16
     fu1193 percent of its vice president level workforce was white or Asian.14 Those numbers
17
     represent a mere 1 percentage point decrease in the overall workforce number for 2017
18
     and 2018 and remain completely static for the vice president level workforce from 2017
19
     and 2018.
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           'a Cisco's 2019 CSR Report, at 47-8.
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25         81.             Despite touting its signatory status on the White House Equal Pay Pledge
26 and its participation in the Employers for Pay Parity Consortium, Cisco does not include
27 identifiable pay parity statistics in its Proxy Statements and Annual Reports for the years
28

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 1     2017, 2018 and 2019.
 2           82.    Further, even the cursory, summary pay parity statements included in
 3 I   Cisco's CSR Reports from 2018 and 2019 demonstrate that twice as many employees
 4 I   experienced discriminatory pay disparity in 2019 as in 2018.
 5           83.    The Caste Discrimination Lawsuit points out that pay disparity is but one
 6 I   symptom of a more widespread discrimination and lack of diversity problem. Cisco has
 7 I   not yet responded to or made a public statement regarding the Caste Discrimination
 8     Lawsuit.
 9           84.    The Board has had actual knowledge of all these facts at all relevant times.
10           B.     The Director Defendants Breached Their Fiduciary Duty of Candor by
                    Causing Cisco to Include False and Misleading Statements in Cisco's
11                  Proxy Statements
12           85.    Notwithstanding their knowledge about Cisco's failure to promote and
13     achieve diversity and its discriminatory pay practices, the Director Defendants have
14     breached their fiduciary duty of candor by causing Cisco to consistently make false
15     statements about Cisco's commitment to diversity and the promotion of Blacks and
16     other minority employees to positions of management and power at Cisco. In the 2019
17     Proxy, signed by Directors Bums, Bush, Capellas, Garrett, Johnson, McGeary, Robbuls,
18     Sarin, Saunders, and Tome, the Directors represented that:
19           Board Refreshment
20

21           As part of its consideration of director succession, the Nomination and
             Governance Committee from time to time reviews the appropriate skills
22           and characteristtics required of board members such as diversity of
             business experience, viewpoints and personal background, and diversity of
23           skills in technology, finance, marketing, international business, financial
             reportin and other areas that are expected to contribute to an effective
24           Board ofg Directors. Additionally, due to the global and complex nature of
             our business, the Board believes it is important to consider diversity of
25           race, ethnicity, gender, age, education, cultural background, and
             professional experiences in evaluating board candidates in order to
26           provzde practical inszghts and diverse perspectives.
27

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1                     86.            The 2019 Proxy also stated:
 2                    Business Experience and Qualifications of IVominees
 3

 4                    The table below summarizes key qualifications, skills and attributes most
                      relevant to the decision to nominate the candidates to serve on the Board of
 5                    Directors. A mark indicates a specific area of focus or experience on which
                      the Board relies most. The lack of a mark does not mean the director
 6                    nominee does not possess that qualification or skill. Each director nominee
                      biography above in this section describes each nominee's qualifications
 7                    and relevant experience in more detail.
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                      87.            These statements were false and misleading. In reality, regardless of
16
         whether Cisco's Nomination and Govemance Committee (comprised of Defendants
17   I



         Capellas, Garrett and McGeary) ever made any efforts to recruit any Black individuals
18
         and other racial and ethnic, non-Asian minorities to the Board, no Black individuals
19
         currently serve on the Board. Actions speak louder than words. In fact, the Board has
20
         never in good faith actively sought minority candidates. The phrase "believes it is
21
         important to consider diversity of race, ethnicity" implies that in fact active, good faith
22
         efforts have been made, when in reality Cisco has not actively sought to recruit racial
23
         and ethnic minorities and has just attempted to create the false impression that it is
24
         "important" to do so. Tllis is the very definition of a misleading statement.
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 1          88.        Moreover, Cisco's statements about Board diversity were highly material
 2   to investors.15
 3          89.        To attempt to justify its failure to break from a status quo rooted in
 4   systemic racism, Cisco's Board has resisted efforts to appoint racially and ethnically
 5   diverse members to its Board by claiming that the individuals who have served on the
 6   Board for, in some cases going on two decades, are already diverse or have experience
 7   that is valuable to the Company. But the statements caused to be made by the Board in
 8   the 2019 Proxy show that the single non-gender diverse member of the Board has been
 9   serving since 2009.16 This is true even though six of the other nine available director
10   positions have been filled or re-filled since that time.
11          90.        These statements were made with knowledge or reckless disregard of their
12   falsity and with intent to mislead shareholders.
13          91.        In reality, the Director Defendants' refusal to appoint new Black and non-
14   gender-based minority members to the Board represents explicit or implicit racism at
15   Cisco and an improper pretext for failing to add Black and non-gender-based minority
16   individuals to the Board. In misrepresenting the reason for failing to add new members
17   to its Board, the Director Defendants made intentionally or recklessly false statements in
18   order to get themselves re-elected and to conceal the true reasons for Cisco's long-
19   standing failure to add Black individuals to its Board.
20          92.        The 2019 Proxy contained a"Shareholder Proposal 4— Independent Board
21   Chairman," which asked shareholders to vote in favor of requiring Cisco to replace
22

23
            's See Arleen Jacobius, "Calpers Turns Focus to Board Diversity in Proxy Voting,"
     PENSIONS & INVESTMENTS, Sept. 17, 2018 (in 2018, Calpers voted against 438 directors at
24
     141 different companies based on the companies' failure to respond to Calpers' efforts to
     increase board diversity).
25
           16 2019 Proxy, at 7.
26

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     Robbins as Chairman with an independent director. The proposal stated in part:

                  Shareholders request our Board of Directors to adopt a policy to
           require that the Chairman of the Board be an independent member of the
           Board whenever possible. The Board would have the discretion to phase in
           this policy for the next Chief Executive Officer transition, implemented so
           it does not violate any existing agreement.
 5         If the Board determines that a Chairman, who was independent when
           selected is no longer independent, the Board shall select a new Chairman
 6         who satisfies the requirements of the policy within a reasonable amount of
           time. Compliance with this policy is waived if no independent director is
 7         available and willing to serve as Chairman.
 8               Caterpillar was an example of a company changing course and
           naming an independent board chairmari. Caterpillar had even opposed a
 9         shareholder proposal for an independent board chairman at its annual
           meeting shortly before changing course. Wells Fargo also changed course
10         and named an independent board chairman.
11                An independent board chairman can better focus on improving the
           performance of our directors. Improvement is needed since Carol Bartz,
12         Michele Burns, Charles Robbins and Steven West each received more than
           190 million against votes at our 2018 annual meeting. This compares poorly
13         with 3 Cisco directors who received less than 9 million against votes each.
           This proposal topic received 35°/o-support at the 2018 Cisco annual meeting
14         — up form [sic] 27%-suport previously. Adoption of this proposal will cost
           our company virtually nothing — yet can lead to improved director
15         performance.
16
           93.    In response to this proposal, the Director Defendants caused Cisco to file
17

18 an opposition position in the Proxy which stated:

19         The Board of Directors believes that it should maintain flexibility to set
           Cisco's Chairman and board leadership structure as it deems appropriate
20         from time to time. Effective corporate govemance is not merely a"one size,
           fits all" approach, and we believe it is not in the best interest of our
21         shareholders to place arbitrary constraints on the Board of Directors'
           ability to determine a leadership structure that will work best given the
22         complex dynamics of the Board of Directors, senior management and other
           factors at any particular time.
23
           In particular, as corporate governance experts have recognized, a strong,
24         empowered and independent Lead Independent Director role, such as
           Cisco has, fulfills the goals espoused by those who want to arbitrarily
25         require an independent Chairman. In our view, the decision of who should .
           serve in the role of Chairman, and whether the role should be filled by an
26         independent or a non-independent director, at any g~ven time should be
           the responsibility of the Board of Directors, rather than be dictated by a
27         rigid rule that assumes that the same leadership structure would work best
           at all times. Departing from Cisco's current policy of permitting a non-
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           independent director to serve as Chairman would limit the Board's ability
 1         to select the director it believes is best suited to serve as Chairman based
           on the circumstances at the time.
 2
           The Board of Directors believes that it is currently in the best interest of
 3         Cisco and its shareholders for Mr. Robbins to serve as both CEO and
           Chairman, and that the role of Chairman and CEO, together with the role
 4         of the Lead Independent Director and Cisco's other strong corporate
           govemance policies and practices, provides an appropriate balance in
 5         Cisco's leadership. As discussed under "Corporate Governance — Board
           Leadership Structure" above, in designating Mr. Robbins as Chairman, the
 6         Board of Directors considered Mr. Robbins' demonstrated leadership
           during his tenure at Cisco; and the Board of Directors believes that Mr.
 7         Robbins' ability to speak as Chairman and CEO provides strong unified
           leadership for Cisco. The Board believes that the 61 Table of Contents
 8         flexibility to make such a determination with respect to a future CEO, just
           as in the case of Mr. Robbins, is justified by the features of Cisco's
 9         corporate governance structure:
10         • Robust Lead Independent Director role. The role given to the Lead
           Independent Director helps ensure a strong independent and active Board
11         of Directors. Our Lead Independent Director is elected by and from the
           independent board members, and each term of service in the Lead
12         Independent Director position is one year. As further described in our
           corporate governanceyolicies and under "Corporate Governance — Board
13         Leadership Structure' above, the Lead Independent Director has clearly
           delineated and comprehensive duties.
14
           94.       These statements were false and misleading because the Director
15
     Defendants did not genuinely believe them. Cisco at all relevant times has lacked an
16
     independent Chairman, resulting in great harm to Cisco as the Company, controlled by
17
     Robbins, engaged in unlawful conduct with respect to discriminatory hiring and pay
18
     practices. A statement of support from the Directors would have likely substantially
19
     altered the votes at the 2019 Annual Meeting and been material to the voting decisions of
20

21
     shareholders.
           95.       The false statements had their desired effect. At Cisco's annual meeting in
22
     December 2019, all the incumbent directors were re-elected, and the one white, non-
23
     gender minority board-proposed new director was elected. No competing Black or
24
     minority candidates made it on the ballot. The shareholder proposal to replace Robbins
25
     as Chairman with an independent Chairman was defeated. PwC was re-appointed as
26
     the Company's auditor for the 32nd year in a row.
27

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 1                 96.             Cisco published the results of the voting at its annual meeting in a Form 8-

 2   I K filed on Dec. 10, 2019:
 3
                             Submission of Matters to a Vote of Security Holders.
 4         The Annual Meeting of Shareholders (tlle "Meeting") of Cisco Systems, Inc. ("Cisco") was held on
     December 10, 2019. At the Meeting, the shareholders voted on the following four proposals and cast their
 5   votes as follows:                                                                              Nar,
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14                 97.            The 2019 Proxy was materially misleading because it failed to disclose:
15                                (a)           That the Company's stated policies with respect to diversity and
16                 anti-discrimination were not effective and were not being complied with;
17                                (b)           That the Board's Govemance Committee did not take racial and
18                 ethnic diversity into consideration when evaluating potential Board candidates,
19                 and instead simply claimed to do so in order to create a false appearance of
20                 compliance with the law;
21                                (c)           That the Director Defendants did not genuinely believe the
22                 statement in the Proxy that it was not in the Company's best interests, or
23                 necessary, to have an independent Chairman since the current governance
24                 structure was working effectively; in fact, as demonstrated herein and below, the
25                 Individual Defendants all knew that Cisco's best interests were not being
26                 adequately protected by Robbins serving as Chairman, as amply demonstrated by
27                 the recently filed Califomia Department of Fair Employment and Housing
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 1           lawsuit alleging Indian caste harassment and pay discrimination at Cisco and
 2           Cisco's March 2020 $4.75 million settlement of a Department of Labor claim that
 3           Cisco underpaid its female and minority employees compared to its white male
 4           employees;
 5                  (d) That Defendants had knowledge that the Company's intemal
 6           controls and systems were inadequate and ineffective to protect minorities against
 7           discrimination in hiring, promotion, and other critical terms of employment and
 8           equal access, and that rampant unlawful discrimination exists at the Company;
 9                  (e)   That the Defendants had knowledge of continuing and repeated
10           violations of federal policies and laws due to discriminatory pay practices that
11           adversely affected minorities and women;
12                  (f)   That the Company was preferring the hiring of Asian Indians of the
13           Brahmin, Hindu and other upper castes over other minorities and women;
14                  (g)   That Defendants failed to maintain appropriate policies, internal
15           controls, and procedures to ensure that the Company's stated policies with
16           respect to diversity and anti-discrimination were being complied with;
17                  (h)   That Defendants failed to appropriately address the Company's lack
 :           of diversity and discriminatory practices towards minorities in hiring and
19 1         promotion and misleading claims regarding the same; and
20                  (i)   That, as a result, the Company was at substantial risk of large
21           monetary fines, penalties, and adverse judgments in pending lawsuits due to the
22           fact that the Company was not in compliance with federal and state laws
23           regarding hiring, promotion, and pay practices.
24           98. The 2019 Proxy harmed the Company by interfering with the proper
25     govemance on its behalf that requires stockholders' informed voting of directors. As a
26 I result of the false or misleading statements in the 2019 Proxy, stockholders voted to re-

27     elect all of the Defendants to the Board and voted against requiring Cisco to have an
28
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 1   I independent Chairman.
 2          99. The statements in the 2019 Proxy conveyed that the Company's corporate
 3   governance structure was "effective" and that the Board's leadership structure allowed it
 4   to "participate actively in the oversight of management's actions." In reality, the
 5   Company's corporate governance structure and defective internal controls allowed
 6   senior executives and the Board to sidestep real accountability and instead continue
 7   perpetuating the discriminatory practices that led to the DOL investigation regarding
 8   the Company's discriminatory pay practices, the Califomia Caste Discrimination
 9   Lawsuit, and other discrimination in hiring practices and lack of racial and ethnic
10 diversity on both the Board and management.

11         100. The 2019 Proxy, which contained materially misleading statements and
12 thus deprived shareholders of adequate information necessary to make a reasonably

13 informed decision, caused the Company's stockholders to re-elect nine of the Defendants
14 to the Board while they were breaching their fiduciary duties to the Company and
15 deliberately concealing material information concerning the Company's discrimination

16 against Black individuals and other minorities and its effects on the Company's business

17 and reputation.

18         101. The Company and its shareholders were harmed by the approval of
19 incentive compensation awards to certain of the Individual Defendants, such as

20 executive officer Robbins, and others, who helped perpetrate the illegal discriminatory

21 hiring and compensation practices. Had shareholders known of the underlying

22 misconduct at the Company, they would not have voted to keep the same Directors who
23 were allowing the illegal practices to continue. Even if the alleged discriminatory
24 practices began before the Proxy Statements issued, they continued after the Proxy
25 Statements issued because Board members elected by shareholders pursuant to the
26 Proxy Statements allowed the practice to continue.
27 ~//~

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 1                                 102.     2018 PROXY — The statements above that the Director Defendants caused

 2       the Company to make in the 2019 Proxy were substantially identical to statements they
 3       had caused Cisco to include in the 2018 Proxy, which was filed by Cisco with the SEC on
 4       October 24, 2018. The 2018 Proxy contained a shareholder proposal asking that Cisco be
 5       required to have an independent Chairman that was substantially identical to the same
 6       proposal in the 2019 Proxy.
 7                                 103.     The 2018 Proxy was approved by the Directors below; and the table below

 8   I identifies committee membership as of October 15, 2018, the record date of the 2018

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17                                 104.      For example, similar to the language in the 2019 Proxy, the 2018 Proxy

18 I stated the following:

19                                        The Board believes it is important to consider diversity of race,
                                   ethnicity, gender, age, education, cultural background, and professional
20                                 experiences in evaluating board candidates in order to provide practical
                                   insights and diverse perspectives."
21
                                   105.      The 2018 Proxy also contained a proposal submitted by the Director
22
         Defendants asking shareholders to approve executive compensation at the Company:
23   I




24
25
                                   17   See Cisco's 2018 Proxy at 26.
26
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               Proposal No. 3— Advisory Vpte to Approve Executive Compensation
 1
                      Under Section 14A of the Exchange Act, Cisco shareholders are
 2             entitled to cast an advisory vote to approve the compensation of Cisco's
               named executive officers, known as a"Say on Pay" vote. The shareholder
 3             vote is an advisory vote only and is not binding on Cisco or its Board of
               Directors. Although the vote is non-binding, the Board of Directors and the
 4             Compensation Committee value the opinions of our shareholders, and will
               consider the outcome of the vote when making future compensation
 5             decisions for our named executive officers.
 6             Fiscal 2018 Pay Levels
               The following table compares fiscal 2017 and fiscal 2018 total direct
 7             compensation ("TDC") for our CEO against Cisco's total shareholder
               return ("TSR"):
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 1                  106. These statements in the 2018 Proxy were false and misleading for the same
 2   I reasons alleged above with respect to the false statements in the 2019 Proxy. Similar to
 3   I the 2019 Proxy, the 2018 Proxy contained shareholder proposals for an independent
 4   I chairman of the Board and for a Pay Equity Report. Similar to 2019, in 2018 the Director
 5   I Defendants caused Cisco to oppose those proposals with language that was substantially
 6   I identical to the language quoted supra from the 2019 Proxy. Both such proposals were
 7   I defeated in 2018, too.
 8                  107. On November 16, 2018, Cisco filed a Form 8-K disclosing the results of the
 9   I voting at the 2018 annual meeting. The Form 8-K stated:
10                  At the Annual Meeting of Shareholders (the "Meeting") of Cisco Systems,
                    Inc. ("Cisco") held on December 12, 2018, Cisco's shareholders approved
11                  the amendment and restatement of the Cisco Employee Stock Purchase
                    Plan (the "Purchase Plan"). The amendment and restatement of the
12                  Purchase Plan was approved by Cisco's Board of Directors (the "Board")
                    on October 3, 2018, subject to the approval of Cisco's shareholders, and
13                  became effective with such shareholder approval on December 12, 2018. As
                    a result of such shareholder approval, the Purchase Plan was materially
14                  amended and modified to (i) extend the term by ten years and (ii) increase
                    the maximum number of shares of common stock authorized for issuance
15                  over the term of the Purchase Plan by 100 million shares.
16                   Proposall: To elect nine members of Cisco's Board:
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22                   Proposal 2: To approve the amendment and restatement of the Cisco
                     Employee Stock Purchase Plan:
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 1           Proposal3: To approve, on an advisory basis, executive compensation:
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             Proposal 4: To ratify the appointment of PricewaterhouseCoopers LLP as
 5           Cisco's independent registered public accounting firm for the fiscal year
             ending July 27, 2019:
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             Proposal 5: A shareholder proposal to have Cisco's Board adopt a new
 9           policy to have an independent Board chairman.
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12            Proposal 6: A shareholder proposal to have Cisco's Board adopt a proposal
              relating to executive compensation metrics.
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              C.           Cisco's Nominating and Corporate Governance Committee Members
16                         Have Repeatedly Breached Their k'iduciary Duties to Ensure Diversity
                           on the Board
17
             108. The Charter of the Nominating and Governance Committee states the
18
     following with respect to the -duties of the Board members serving on such committee:
19
              RESPONSIBILITIES AND DUTIES
20
              In carrying out the purpose set forth in Section 1 above, the Committee
21            shall:
22                   1. Identify aizd review candidates for the Board and recommend to the
                         full Board candidates for election to the Board, and from tiine to
23                       time review the process for identifying and evaluating candidates
                         for election to the Board. The Committee may engage consultants or
24                       third-party search firms to assist in identifying and evaluating
                         potential nominees.
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     I SHAREHOLDER DERIVATIVE COMPLAINT
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 1            2. Review from time to time the appropriate skills and characteristics
                 required of Board members, irtcluding such factors as business
 2               experience, diversity, and personal skills in technology, finance,
                 marketing, international business, financial reporting and other
 3               areas that are expected to contribute to an effective Board.
 4            3. Review and assess director independence with respect to continuing
                 and prospective directors, and make recommendations to the Board.
 5
              4. Make recommendations to the Board regarding the size, structure
 6               and composition of the Board and its committees.
 7            5. Oversee the annual Board perform.ance evaluation process,
                 including performance evaluation of each committee of the Board
 8               and individual Board me3nbers.
 9            6. Periodically review the Company's corporate governance policies
                 and recommend to the Board modifications to the policies as
10               appropriate.
11            7. Review the Company's policies and programs coricerning corporate
                 social responsibility, including environmental, social and
12               govemance matters.
13            8. Review and recommend compensation for non-employee members
                 of the Board, including but not limited to the following elements:
14               retainer, meeting fees, committee fees, committee chair fees, equity
                 or stock . compensation, deferred compensation, benefits and
15               perquisites.
16            9. Have full access to the Company's executives as necessary to carry
                 out this responsibility.
17
              10. Perform any other activities consistent with this Charter, the
18                Company's Bylaws and governing law as the Committee or the
                  Board deems necessary or appropriate.
19
              11. Review the Committee Charter from time to time for adequacy and
20                recommend any changes to the Board.
21            12. Report to the Board on the major items covered at each Committee
                  meeting.l$
22

23

24

25         '$ Available at https://investor.cisco.com/corporate-governance/nomination-and-
     governance-committee-charter/default.aspx, last visited September 11, 2020.
26

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 1         109.   The 2019 Proxy also stated the following with respect to the Nominating
 2 I and Governance Committee responsibilities:

 3                The Nomination and Governance Committee is responsible for
           overseeing, reviewing and making periodic recommendations concerning
 4         Cisco's corporate governance policies, for reviewin Cisco's policies and
           programs concernmg CSR (including ESG matters, for reviewing and
 5         assessing director independence, for making recommendations regarding
           the size, structure and composition of the Board and its committees, for
 6         overseeing the annual Board evaluation process, for recommending to the
           full Board of Directors candidates for election to the Board of Directors,
 7         and for reviewing and recommending compensation for non-employee
           members of the Board. Each member of this committee is an independent
 M
 .         director under applicable Nasdaq listing standards.
 9
           110.   The members of the Committee (Capellas, Garrett, and McGeary) have
10 breached their fiduciary duties as directors by failing to fulfill these duties. Rather than

11 causing Cisco to comply with the principles it claims to follow with respect to its

12
     corporate governance, Capellas, Garrett, and McGeary have caused Cisco to merely pay
13 lip service to these principles. Instead of recommending well-qualified Black and

14   minority candidates to serve on Cisco's Board, Capellas, Garrett, and McGeary have
15 I perpetuated the all-white Board under the pretext that the existing members'

16
     "experience" and long tenure on the Board is beneficial to Cisco.
17
           111.   Moreover, to entrench themselves and their fellow directors in office, all
18 the Director Defendants have opposed term limits in order to prevent the addition of

19 I qualified Black and minority candidates to the Board.

20
           112.   As the saying goes, the rich get richer while the poor get poorer. Serving
21
     on Cisco's Board has enriched the already-rich elites whose profitable sinecure has been
22   perpetuated by the Defendants' wrongdoing. Many qualified Black and minority
23 candidates would benefit greatly from the prestige and compensation that comes with a

24   position on Cisco's Board. The following chart sets forth the compensation earned by
25
     outside directors on Cisco's Board in 2019:
26

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 1           Fiscal 2019 Director Compensation
 2           The following table provides information as to compensation earned by the
             non-employee directors during fisca12019.
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12           D.            The Director Defendants Breached Their Duties of Loyalty and Good
                           Faith by Failing to Ensure the Company's Compliance with Federal and
13                         State Laws Regarding Diversity and Anti-Discrimination
14           113. The Director Defendants have known for years that Cisco has been
15 I violating federal and state laws regarding diversity, equal pay, and discrimination

16 I against minorities.

17           114. Defendants' knowledge is reflected by the fact that, as recently as 2017,
18 Cisco was still trying to hide the facts and statistics about its lack of workforce diversity,

19 arguing the demographic data was a trade secret. Cisco was one of the few companies in

20 Silicon Valley doing so; another company which tried to hide the information was

21 Palantir.79

22           115. In addition to improperly claiming that the diversity statistics were trade
23 I secrets, Cisco refused to publish annual diversity reports, thus enabling the Company to
24

25          19 See Natasha Tiku, Cisco Allegedly Underpaid Women and Minorities by $400
     Million. Now the Details Are Set to Come out in Court, THE WASHINGTON POST, Dec. 5, 2019.
26
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 1   attempt to hide the lack of diversity. The Director Defendants were aware of this and
 2   were complicit in these acts, thus demonstrating their scienter about Cisco's failure to
 3   I ensure diversity and failure to pay minorities equal pay.
 4           E.    The Board Has Breached Its Duties by Failing to Ensure an Independent
                   Chairman
 5
             116. There is no independent Chairman of the Board at Cisco. Chuck Robbins
 6
     I fills that role as well as serving as CEO and member of the Board. Given his multiple,
 7
     high level positions within Cisco, as Chairman, Robbins is not independent.
 8
             117. Simply put, the Director Defendants had a fiduciary duty to ensure that the
 9
     Chairman of the Board was independent. They have completely failed to do so, and
10
     their failure to do so has been a huge part of the problem, allowing the lack of diversity
11
     to continue at Cisco, both among the management ranks and on the Board itself. The
12
     Director Defendants' failure to insist upon an independent Chairman at Cisco allowed
13
     Robbins to pursue a meritless personal gain, thus creating its financial statements to
14
     present a false and misleading picture of its financial condition.
15
             F.    The Director Defendants Have Breached Their Duties by Continually
16                 Re-Hiring PricewaterhouseCoopers LLP as the Company's Auditor
17           118. PricewaterhouseCoopers LLP ("PwC") is the Company's auditor, and has
18 been so since 1988 — thirty-tzvo years and counting.

19           119. As Cisco's Proxy Statement from 2019 disclosed, the following table sets
20 forth the approximate aggregate fees billed to Cisco by PwC for fiscal 2019 and fiscal

21   2018:

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           120. Despite billing Cisco over $38 million in fees in both 2018 and 2019, PwC
     has completely failed to properly audit and assess the Company's intemal controls.
 3         121. Defendants Garrett (Chair), Burns and McGeary, as the members of Cisco's
     Audit Committee, are responsible for selecting and monitoring PwC. The Company's
 5112019 Proxy states:

 0           . The Audit Committee has a~pointed PwC as Cisco's independent
           registered public accounting firm or fisca12020 and is responsible for pre-
           approving all audit and permissible non-audit services to be provided by
           PwC. PwC has audited Cisco's consolidated financial statements annually
           since fiscal 1988. In order to assure continuing auditor independence, the
           Audit Committee considers non-audit fees and services when assessing
 9         auditor independence and periodically considers whether there should be
           a regular rotation of the independent registered public accounting firm.
10         Further, in conjunction with the mandated rotation of the audit firm's lead
           engagement partner, the Chairman and other members of the Audit
11         Committee are directly involved in the selection of PwC's new lead
           engagement partner, including the most recent selection of PwC's lead
12         engagement partner for the period of service beginning with fiscal 2019.
           The members of the Audit Committee and the Board believe that the
13         continued retention of PwC to serve as Cisco's independent registered
           public accounting firm is in the best interests of Cisco and its shareholders.
14

15         122. The 2019 Proxy Statement also represented that:

16                 The Audit Committee's policy is to pre-approve all audit and
           permissible non-audit services to be provided by the independent
17         registered public accounting firm. These services may include audit
           services, audit-related services, tax services and other services. Pre-
              proval is generally provided for up to one year and any pre-approval is
18
           y  tailed as to the articular service or category of services and is generally
           subject to a specifpc budget. The independent registered public accounting
19
           firm and management are required to report periodically to the Audit
20         Committee regarding the extent of services provided by the independent
           registered public accounting firm in accordance with this pre-approval,
21         and the fees for the services performed to date. The Audit Committee may
           also pre-approve particular services on a case-by-case basis.
22
           123.   Defendants Garrett (Chair), Bums and McGeary, as the members of Cisco's
23
     Audit Committee, also prepared and included a report in the 2019 Proxy as follows:
24
           Audit Committee Report
25
               The Audit Committee has reviewed and discussed with Cisco's
26      management and PricewaterhouseCoopers LLP the audited consolidated
        financial statements of Cisco contained in Cisco's Annual Report on Form
27      10-K for the 2019 fiscal year. The Audit Committee has also discussed with
        PricewaterhouseCoopers LLP the matters required to be discussed by the
 :
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            applicable requirements of the Public Company Accounting Oversight
 1          Board and the SEC.
 2                 The Audit Committee has received and reviewed the written
            disclosures and the letter from PricewaterhouseCoopers LLP required by
 3          applicable requirements of the Public Company Accounting Oversight
            Board regarding the independent accountant's communications with the
 4          Audit Committee concerning independence, and has discussed with
            PricewaterhouseCoopers LLP its independence from Cisco.
 5
                  Based on the review and discussions referred to above, the Audit
 6          Committee recommended to the Board of Directors that the audited
            consolidated financial statements be included in Cisco's Annual Report on
 7          Form 10-K for its 2019 fiscal year for filing with the Securities and
            Exchange Commission.
 8
                                Submitted by the Audit Committee
 9
                                     Mark Garrett, Chairperson
10                                      M. Michele Bums
                                      Roderick C. McGeary
11                                       Steven M. West
12
            124. PwC has served as Cisco's auditor since 1988, giving rise to a cozy and
13
     I clubby relationship between PwC and Cisco which is not conducive to effective
14
     I auditing. The Company's compliance with its stated policies concerning the alleged
15
     I commitment to diversity has been abysmal to the point of being basically non-existent.
16
            125.    The very purpose of an auditor is to assess the Company's internal
17
     controls and determine if they are functioning effectively. Rather than doing so, PwC
18
     has wrongfully and consistently given Cisco's internal controls a clean bill of health and
19
     has failed to point out the obvious — that Cisco lacks an effective system of internal
20
     controls to ensure that the Company is not discriminating against minorities and is
21
     complying with its stated goals and initiatives regarding the promotion of diversity and
22
     the avoidance of discrimination and harassment.
23
            126.   Defendants Garrett, Burns and McGeary, as the members of the Audit
24
     Committee, breached their fiduciary duties by failing to perform their duties on the
25
     Audit Committee, including failure to ensure that an adequate audit was being
26
     performed of the Company's internal controls regarding diversity, anti-discrimination,
27
     anti-harassment, pay equity, and other relevant areas of critical importance to the
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 1     Company. They also signed the 2019 Proxy Statement that contained false statements
 2      regarding the Company's internal controls being effective and adequate, which were
 3     false and gave a very misleading and inaccurate portrayal of these key issues to
 4     stockholders.
 5              127. Defendants Burns (Chair), Bush, and Johnson, as the members of the
 6     Finance Committee, breached their fiduciary duties by failing to perform their duties on
 7     the Finance Committee, including failure to ensure that Cisco's compensation policies
 8     and programs do not entail excessive risk. At all relevant times, Cisco's compensation
 it,    policies encouraged excessive risk by providing the potential for huge compensation to
10      Cisco's officers, while at the same time not adequately tying compensation to the
11      achievement of non-financial goals such as diversity and compliance with the law. As a
12      result, the Finance Committee defendants breached their duties to help protect Cisco
13     from legal liability.
14              128. Defendants Bums (Chair), Bush, and Johnson, as the members of Cisco's
15     I Finance Committee, also prepared and included a statement in the 2019 Proxy as
16     I follows:
                       The Finance Comm.ittee reviews and approves Cisco's global
17              investment policy; oversees Cisco's stock repurchase programs; and
                reviews minority investments, fixed income assets, insurance risk
18              management policies and programs, tax programs, currency, interest rate
                and equity risk management policies and programs, and capital structure
19              and capital allocation strategy. This committee is also authorized to
                approve the issuance of debt securities, certain real estate acquisitions and
20              leases, and charitable contributions made on behalf of Cisco.
21              G.     The Unjust Compensation Awarded to the Individual Defendants
22              129. Some of the Defendants received unjust compensation and/or
23      compensation and payments that were higher due to Defendants' wrongdoing and
24     I because the Company was more profitable by paying Black individuals and minorities
25     Iless.
26              130. Defendants Robbins and Kramer received excessive dividends and equity
27     I awards than they would have but for the wrongdoing. If Black and minority employees
28
                                                     47
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 1   working at Cisco had received fair and equal pay, Cisco would have had higher
 2   compensation expenses. Moreover, Robbins and Kramer are large beneficiaries of the
 3   Company's dividends because they own 89,660 and 218,113 shares of the Cornpany's
 4   stock, respectively. As a result, Robbins received dividends in the last twelve months in
 5   the amount of $1.41 per share, or $126,420.60, and Kramer received dividends in the
 6   amount of $1.41 per share, or $307,539.33. Further, Robbins' equity awards are reflected
 7   in the attached chart from the 2019 Proxy Statement with respect to the cash-based
 8   performance awards and stock unit awards in fisca12019:
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21          131. Much of the information about the exact amount of the unjust payments is

22 not publicly available, and has been concealed by Defendants. As a result, Plaintiff

23 requires discovery in order to -properly allege the full extent and details of the
24 Defendants' wrongdoing.
25          132. However, at a minimum, based on publicly available information, I

26 Defendant Robbins, Kramer, and other Defendants have received substantial unjust I
27 compensation.

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  1                133. The Individual Defendants' receipt of this compensation during the
  2    relevant time period was unjust in light of their direct participation in the wrongful
  3    conduct alleged herein, which constituted bad faith and disloyal conduct. The
  4    defendants' receipt of such compensation while they were knowingly or recklessly
  5    breaching their fiduciary duties to the Company constitutes unjust compensation that
  6    should be recouped by Cisco.
  7                 134. The following table provides some additional information about some of
  8   I the Officer Defendants' compensation during part of the relevant time period:
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15
                    135. The Officer Defendants' compensation during the relevant period was also
16

17 unjust because it significantly exceeded the average employees' pay, as disclosed by the

18 Company in its Proxy:

19                  CEO Pay Ratio

20                         As determined in accordance with SEC rules, the fiscal 2019 annual
                    total compensation was $25,829,833 for our CEO as reported in the
21                  Summary Com ensation Table and $142,593 for our median employee,
                    and the ratio of~these amounts is 181 to 1. The Compensation Committee
22                  considers our CEO pay ratio in reviewing and establishing CEO
                    compensation.
23
                    136. If Defendant Robbins' 2019 pay was more than 181 times the median
24
       employee's compensation, then it must have been an even higher multiple of the median
25
       Black or minority employee's compensation given the government's allegations that
26
       Cisco unlawfully paid such employees less than other employees for similar jobs. When
27
       viewed in light of these facts, the Defendants' compensation was unjust under equitable
  :
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 1   principles.
 2                    137.             The following chart provides information about the compensation that the
 3   Director Defendants received during 2019:
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12
                      138.             The Defendants' compensation and stock awards detailed herein were
13
14 unjust and should be disgorged or returned by such Defendants because they acted in
   bad faith and in a disloyal manner by virtue of the conduct alleged in this complaint.
15

16 VII. THE COMPANY HAS SUFFERED SIGNIFICANT DAMAGES

17                    139.             The Company has suffered significant harm and damages due to
     Defendants' wrongdoing and breaches of duty.
18
                      140.             As a.direct and proximate result of the Individual Defendants' conduct, the
19
     Company has expended and will continue to expend significant sums of money. Such
20
     expenditures include, but are not limited to, the amounts paid to outside lawyers,
21
     accountants, and investigators in connection with internal and external investigations
22
     into issues pertaining to the lack of diversity at Cisco, discrimination lawsuits,
23
     harassment claims, wrongful termination lawsuits, and lack of pay equity claims.
24
                      141.             As recently as March 2020, Cisco agreed to pay $2,000,000 in lost wages
25
     and interest to affected employees, and pay an additional $2,750,000 over the next five
26
27
     years in pay-equity adjustments to its employees due to a DOL claim that "the contpany

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 1 paid women, black and Hispanic employees less than comparable male and white

 2 employees in similar positions."

 3         142. Moreover, Cisco's reputation, goodwill, and market capitalization have
 4 been harmed as a result 6f the Individual Defendants' misconduct.

 5         143. Further, as a direct and proximate result of the Individual Defendants'
 6   actions, Cisco has expended, and will continue to expend, significant sums of money.
 7   Such expenditures include, but are not limited to:
 8                (a)    costs incurred from having to hire new employees, as employees
 9         have quit in protest over Defendants' misconduct and the discriminatory
10         practices employed by Cisco;
11                (b) costs incurred from defending and paying settlements in
12         discrimination lawsuits; since the Individual Defendants' wrongdoing caused
13         discrimination to proliferate at Cisco;
14                (c) costs incurred from defending and settling governmental
15         investigations into the Individual Defendants' misconduct;
16                (d)    loss-of reputation; and
17                (e)    costs incurred from compensation and benefits paid to the
18         Individual Defendants who have breached their duties to Cisco.
19 VIII. DEMAND FUTILITY

20         144. Plaintiff brings this action derivatively in the right and for the benefit of
21 Cisco to redress injuries suffered, and to be suffered, by Cisco and its stockholders as a

22 direct result of the Officer Defendants' violations of federal securities laws and breaches

23 of fiduciary duty.
24         145. Cisco is named as a nominal defendant solely in a derivative capacity.
25         146. This is not a collusive action to confer jurisdiction on this Court that it
26 would not otherwise have.
27         147. At the time this action was commenced, Cisco's Board consisted of the
28
                                                   51
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 1 following 10 members: Defendants Burns, Bush, Capellas, Garrett, Johnson, McGeary,

 2   Robbins, Sarin, Saunders, and Su.
 3         148. Plaintiff has not made any demand on Cisco to institute this action because
 4 I such a demand would be a futile, wasteful, and useless act.

 5         149. Under California law, demand is futile if a majority of the directors are
 6   either interested in or not independent of a person interested in the claims asserted.
 7   Further, where a board is made up of an even number of directors, a majority of
 8   directors is considered to be half the Board.
 9         150. Based on these principles, demand is futile here if five (5) of the ten (10)
10   directors are either interested in or not independent of a person interested in the claims
11 asserted herein. As discussed below, demand is futile because (i) the Officer Defendants

12   face a substantial likelihood of liability for violating the federal securities laws and
13 breaching their duty of due care, and (ii) at least four other directors are not independent

14 of the Officer Defendants.
          A.     Demand is Futile Because All the Board Members Face a Substantial
15
                 Likelihood of Liability for Breaching Their Duties of Candor and
16               Loyalty
17         151. The challenged misconduct at the heart of this case involves the direct
18   facilitation of unlawful activity, including the Board knowingly and/or consciously
19   presiding over the Company's discrimination against women, Blacks and other
20   minorities at Cisco. In their capacity as corporate directors, the Board members
21   affirmatively adopted, implemented, and/or condoned a business strategy based on
22   Cisco's deliberate and widespread violations of law. The Board members cannot
23   plausibly claim ignorance conceming these wide-ranging compliance failures. Indeed,
24   the Board was specifically and uniquely accountable and responsible for the compliance
25 , failures discussed herein given that the Board was repeatedly made aware of the

26   Company's failed internal controls and failure to comply with regulations.
27         152. Indeed, the lack of diversity challenged by this lawsuit pertains to the
28
                                                 52
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 1      Board itself, which does not contain a single African American individual. The I
 2                   . Proxy, which was approved by all the directors, stated:
        Company's 2019
  3           Additionally, due to the global and complex nature of our business, the
              Board believes it is important to consider diversity of race, ethnicity,
  4
              gender, age, education, cultural background, and professional experiences
  5           in evaluating board carididates in order to provide practical insights and
              diverse perspectives.
  6
              153. All Director Defendants thus knew that the Cornpany's Board composition
  7
        was required to reflect the benefits of diversity, including diversity as to race and
 ~7
        ethnicity.
 9
               154. Despite having actual knowledge of this requirement, all Director
10
        Defendants knew that, year after year, Cisco did not choose any racially or ethnically
11
        diverse candidates to be Board members.
12
               155. Rather than undertake their duty to investigate all complaints and
13
        concems related to the Company's deficient internal controls, the Board undertook
14
        minimal action. This essential "do nothing" strategy in the face of information
15
        evidencing the systematic violations of applicable laws and regulations is not a legally
16
        protected business decision arid such conduct can in no way be considered a valid
17
        exercise of business judgment. A derivative claim to recoup damages for harm caused to
18
        the Company by pervasive unlawful activity represents a challenge to conduct that is
19 1!
        outside the scope of appropriate business judgment — conduct for which the Individual
20
        Defendants should face potential personal liability. As such, the protections of the
21
        "business judgment rule" do not extend to such malfeasance. Nor can such malfeasance
22
        ever involve the "good faith" exercise of directorial authority. Accordingly, any demand
23
        on the Board to initiate this action would be futile.
24
               156. Moreover, despite touting its signatory status on the White House Equal
25
        Pay Pledge and its participation in the Employers for Pay Parity Consortium, Cisco does
26
        not include identifiable pay parity statistics in its Proxy Statements and Annual Reports
27
        for the years 2017, 2018 and 2019.
28
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 1          157. The Director Defendants had actual knowledge that the summary pay
 2   parity statements included in Cisco's CSR Reports from 2018 and 2019 demonstrate that
 3   twice as many employees experienced discriminatory pay disparity in 2019 as in 2018.
 4          158. The Director Defendants were also aware that the Caste Discrimination
 5   Lawsuit points out that pay disparity is but one symptom of a more widespread
 6   discrimination and lack of diversity problem. Cisco has not yet responded to or made a
 7   public statement regarding the Caste Discrimination Lawsuit.
 8          159. The Board has had actual knowledge of all these facts at all relevant times.
 9          160. Even if knowingly presiding over illegal conduct somehow falls within the
10   ambit of the business judgment rule (which it does not), demand is also futile and
11 I excused because a majority of the members of the Board are not disinterested or

12   independent and cannot, therefore, properly consider any demand.        .
13          161. As an initial matter, the Board has conceded in the Company's SEC filings,
14   including its proxy statement, that Robbins is not an independent director of the
15   Company. Specifically, Robbins is not independent and faces a substantial likelihood of
16   liability because his principal occupation is serving as the Company's Chief Executive
17   Officer. Moreover, a significant portion of Robbins' compensation is incentive-based,
18   which means that he was personally incentivized to perpetuate misconduct (such as that
19   described herein) that artificially inflates the performance of the Company. As a Cisco
20   executive, he had exposure to and knowledge of the wrongdoing alleged, including any
21 "red flags." Robbins cannot realistically distance himself frorn the misconduct alleged

22   herein. Robbins is therefore incapable of impartially considering a demand to commence
23   this action.
24          162. Furthermore, Defendants Burns, Garrett, and McGeary have all been
25   members of the Audit Committee during the relevant period, and are conflicted from
26   considering a demand because they each face a substantial likelihood of liability as a
27   result of their conduct on the committee. As stated in the Proxy Statement, the Audit
28
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 1 Committee's charter imposes specific duties on members of this committee to, among

 2   other things, review the Company's practices with respect to risk assessment and risk
 3   management and meet with management and inembers of internal audit to discuss the
 4   Company's significant risk exposures and the steps management has taken to monitor,
 5   control and mitigate such exposures.
 6         163. In accordance with its charter, the Audit Committee also reviews the I
 7   Company's policies and practices with respect to the financial reporting and control
 8   aspects of risk management, and must review the status of risk oversight activities
 9   performed by the Board and its other committees.
10         164. As members of the Audit Committee, Defendarits Burns, Garrett, and
11 McGeary violated their fiduciary duties to act in good faith to address the pervasive I

12   legal violations discussed herein, including the unlawful pay equity gap and II
13 discrimination against women and minorities with respect to hiring and promotion. '

14   Accordingly, Defendants Burns, Garrett, and McGeary face a substantial likelihood of
15 liability and cannot impartially consider a demand. Therefore, demand is excused with

16   respect to these defendants.
17         165. Furthermore, the Director Defendants were on the Board during the
18   relevant period, and thus were exposed to and had knowledge of the "red flags" alleged
19   herein regarding unlawful discrimination and failure to abide by the Company's stated
20   policies to promote diversity. The directors' inaction in the face of red flags subjects
21 them to a substantial likelihood of liability for their conduct and, therefore, demand is

22   excused.
23         166. The Board is likewise conflicted from and unable to pursue Cisco's claims
24   against members of the Company's management, including Defendant Robbins. Any
25 I effort to prosecute such claims against these Defendants for their direct roles in

26   implementing a business strategy designed to ignore or otherwise circumvent laws
27   prohibiting discrimination would necessarily expose the Board's own culpability for the
28
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 1 very same conduct. In other words, given that the Board had been on notice of the

 2   wrongdoing, any effort by the Board to hold Defendants liable would surely lead these
 3   executives to defend on the ground that their own conduct was consistent with Cisco's
 4   corporate policy and practice, as established by and known to the Board.
 5                   B.    The Entire Board Faces a Substantial Likelihood of Liability for
                     Failure to Discharge Their Oversight Obligations in Good Faith
 6
              167.   Under California law and Cisco's Corporate Governance Principles, the
 7
     Board, as the Coinpany's highest decision-making body, is charged with ensuring that
 8
     processes are in place for ensuring legal and regulatory compliance. This is particularly
 9
     true when such compliance concerns a core operation of the Company such as its
10
     employment practices. Here, the misconduct alleged was pervasive, took place over
11
     many years, and involved the Company's core business operations since the
12
     employment practices affected all Company operations. Organized and long-running
13
     violations of the law do not result from an isolated failure of oversight. The entire Board
14
     was obligated to oversee the Company's risk, including potential liability for Cisco's
15
     violations of laws regarding discrimination. At the very least, the Director Defendants
16
     consciously turned a blind eye to these pervasive violations of law, creating a substantial
17
     Iikelihood of liability. Accordingly, demand is excused.
18
              168.   All of the Board's directors, at the time this action was initiated, failed to
19
     act in the face of known duties. Indeed, as explained herein, they were presented with —
20
     but consciously ignored (and/or perpetuated) — substantial "red flag" warnings that
21
     Cisco was discriininating against Blacks and other :minorities with respect to hiring,
22
     proinotion, and evaluation of Board candidates. The Board also knew that African
23
     Americ.ans make up just 3.8% of Cisco's U.S. zvorkforce, and there are no Blacks on the Board or
24
     aniong the Company's Executive Leadership team.
25
        1
              169. These and other wrongful acts have caused and will continue to cause the
26
     Company to be subjected to significant potential fines and penalties and numerous
27
     lawsuits. They have also resulted in severe harm to the Company's business reputation.
28
                                                   56
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 1 Since the wrongdoing and harm alleged in this Complaint flows directly from the

 2   Board's conscious decision to permit the sustained and systemic violations of law in
 3   question, the Director Defendants are incapable of exercising the independent judgment
 4   required to detennine whether the initiation of an action against the Defendants is
 5 appropriate.
 6
            C. Demand Is Futile Against a Majority of the Board Who Are Not Officer
            Defendants Due to a Lack of Independence, Because Robbins Controls
 7          Cisco and Its Board
 8           170. Because Defendant Robbins faces a substantial likelihood of liability, I
 9   demand is futile if four of the remaining nine directors lack independence from
10   Defendant Robbins. As discussed herein, Defendant Robbilzs has complete control over
11 the Board with deep ties to many of the Non-Party Directors, which renders them

12   incapable of assessing a demand.
13           171. Robbins is the Chairman of the Board and CEO of Cisco. Robbins I
14   dominates and controls the Board due to his ownership interests and position, and his
15   domination of the Board. He is a member of the board of directors of B1ackRock, Inc.,
16   which is the Company's second largest shareholder, owning 323,233,397 shares, or 7.6%
17   of a11 outstanding shares.
18     '     172. Robbins' dual roles of Chairman & CEO, cornbined with his position on the
19   board of B1ackRock, which is-the Coinpany's second largest shareholder, as well as the
20   other facts alleged herein, demonstrate that Robbins is a control person at Cisco, and that
21 he dominates and controls the Board. As a result of Robbins' control and influence over

22   Cisco, no director could ever be appointed or reelected to the Board over Robbins'
23   objections. As part of his effort to control the Board, Robbins richly rewards those who
24   demonstrate their loyalty to him, and purges those who question his decisions or
25   otherwise threaten his leadership.
26           173. Further, as discussed below, each director or officer has received I
27   significant compensation wllile serving as a fiduciary of Cisco. Given Defendant I
28
                                                 57
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 1 Robbins' prominent role in retaining the employ of these individuals, as 'well as their

 2     inaterial ties to Robbins, the Individual Defendants are incapable of assessing demand as
 3 I to the claims alleged herein.

 4 I IX. CAUSES OF ACTION

 5
                                             COUNTI
                                      Breach of Fiduciary Duty
 6                        Against All Individual Defendants and Does 1-30
 7           174. Plairitiff incorporates by reference and realleges each and every allegation
 8     contained above, as though fully set forth herein.
 9           175. The Individual Defendants and Does 1-30 'owed and owe the Company
10     fiduciary obligations. By reason of their fiduciary relationships, the Individual i
11 Defendants owed and owe the Company the highest obligation of good faith, - fair '

12     dealing, loyalty, and due care:
13           176. The Individual Defendants and Does 1-30, and each of them, as a result of
14     the facts alleged herein, violated and breached their fiduciary duties of candor, good
15 faith, and loyalty.

16           177. As a direct and proximate result of the Individual Defendants' and Does 1-
17     30's breaches of their fiduciary obligations, the Company has sustained significant
18     dainages, as alleged herein. As a result of the misconduct alleged herein, defendants are
19     liable to the Company.
20
                                              COUNT II
21                          Aiding and Abetting Breach of Fiduciary Duty
                           Against All Individual Defendants and Does 1-30
22
              178. Plaintiff incorporates by reference and re-alleges each of the preceding
23 I
       paragraphs as if fully set forth herein.
24
              179. Each of the Individual Defendants aided and abetted the other Individual
25
       Defendants in breaching their fiduciary duties owed to the Company.
26
             180. The Individual Defendants owed the Company certain fiduciary duties as
27
       fully set out herein. By committing the acts alleged-herein, the Individual Defendants
28
                                                   58
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 1      breached their fiduciary duties owed to the Company.
 2'            181. Each of the Individual Defendants colluded in or aided and abetted the
 3 i    other Individual Defendants' breaches of fiduciary duties, and actively and knowingly
 4i     participated in the other Individual Defendants' breaches of fiduciary duties. Each of
  l
 51     the Individual Defendants knew about or recklessly disregarded the other Individual
 6II     Defendants' breaches of fiduciary,
                                      .duty, which were and are continuing, as set forth in I
 7      particularity herein.
 8             182. The Company was injured as a direct and proximate result of the
 9      I aforementioned acts.
10
                                                COUNT III
11 I,                                         Unjust Enrichment
                                 Against AIl Individual Defendants and Does 1-30
12'
               183. Plaintiff incorporates by reference and realleges each and every allegation
13
        contained above as though fully set forth herein.
14
               184. By their wrongful acts and omissions, the Individual Defendants were I
15
        unjustly enriched at the expense of, and to the detriment of, the Company.
16
               185. During the Relevant Period, the Individual Defendants either received
17
        annual stipends, bonuses, stock options, or similar compensation from the Cornpany
18
        that was tied to the financial performance of the Company or received compensation
19
        that was unjust in light of the Individual Defendants' bad faith conduct.
20
               186. Plaintiff, as shareholder and representative of the Company, seeks
21
        restitution from the Individual Defendants and seeks an order from this Court
22
        disgorging a11 profits, benefits, and other compensation, including any performance-
23
        based compensation, obtauied by the Individual Defendants due to their wrongful
24
        conduct and breach of their fiduciary, duties.
25
               187. Plaintiff, on behalf of the Company, has no adequate remedy at law.
26

27

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       X. -     PRAYER FOR RELIEF
 1
                WHEREFORE, Plaintiff, on behalf of the Company, requests judgment and relief
 2
       as follows:
 3
                A.    Against all of the Defendants, jointly and severally, and in favor of the
 4
       Company for the amount of damages sustained by the Company along with pre- and
 5
       post-judgment interest as allowed by law resulting from Defendants' breaches of
 6
       fiduciary duty, abuse of control, gross mismanagement, and violation of the federal
 7
       proxy laws;
 81
                B.    Directing the Company to take all necessary actions to reform and
 9
       improve its corporate governance and internal procedures to coinply with applicable
10 I
       Iaws and to protect the Company and its shareholders from a repeat of the damaging
11 I
       events described herein, including, but not limited to, putting forward for shareholder
12
       vote, resolutions for amendments to the Company's By-Laws or Articles of
13
       Incorporation and taking such other action as may be necessary to place before
14
       shareholders for a vote of the following Corporate Govei-nance Policies:
15
                      (1)    a proposal to require at least three current Directors to resign from I
16
                the Board and setting forth a resolution to replace such Directors with two Black I
17
                persons and one other minority;
18
                      (2)    a proposal to replace Chuck Robbins as Chairman with a non-
19
                executive director who is independent;
20
                      (3)    all Director Defendants named in this suit should return all their
21
                2020 compensation received from Cisco (including any stock grants), and donate
22
                the inoney to an acceptable charity or organization whose efforts include the
23
                advancement of Black people and minorities in corporate America;
24
                      (4)    reformation of the annual Corporate Social Responsibility Report so
25
                that it contains particularized information about the hiring, advancement,
26
                promotion, and pay equity of all minorities at Cisco;
27
                      (5)    dedication of a$775 million fund to hire Black and ininority
28
                                                     60
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 1          employees, proinote them to more management positions at the Company,
 2          establish and maintain a mentorship program at Cisco for Black and minority
 3          employees that is committed to providing the skills and mentorship necessary to
 4          succeed in corporate America, and bolster the Conscious Culture framework,
 5          inclusive Workforce Planning, and Diverse Talent Accelerator solutions;
 6                (6)     dedication of a$100 million fund for corporate donations to non- I
 7          profits combatting racial, ethnic and gender discrimination and harassment in the
 8          workforce, and itemize donations by fund;
 9                (7)     requirement of annual training of Cisco's entire Board and all
10          Section 16 executive officers, which training should at a minimuin focus on racial
11          and ethnic diversity, affirmative action, anti-discrimination and anti-harassment, I
12          and other relevant topics;
13                (8)     immediately setting specific goals with respect to the number of I
14       _ Black and minority candidates to hire at the Company over the next five years,'
15          and Cisco should adopt a revised executive compensation program that makes
16 i        30% of executives' compensation tied to the achievement of the racial and ethnic
17          diversity goals;
18                (9)     replacement of PricewaterhouseCoopers LLP as its auditor. Cisco is
19          one of PwC's largest custoiners, and PwC has served as Cisco's auditor since
20          1988, giving rise to a cozy and clubby relationship between PwC and Cisco which

21          is not conducive to effective auditing. The Company's compliance with its stated
22          policies concerning the alleged commitmerit to racial and ethnic diversity at the
23          top level have been abysmal to the point of being basically non-existent. The very
24          purpose of an auditor is to assess the Company's internal controls and determine
25          if they are functioning effectively. Rather than doing so, PwC has wrongfully and
26          consistently given Cisco's internal controls a clean bill of health and has failed to
27          point out the obvious — that Cisco lacks an effective system of internal controls to
28
                                                 IN
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 1           ensure that the Company is not discriminating against ininorities and is
 2           complying with its stated goals and initiatives regarding the promotion of non-
 3           gender based diversity and the avoidance of discrimination and harassment;
 4                  (10) a proposal to strengthen the Board's supervision of operations and
 5           develop and implement procedures for greater non-controlling shareholder input
 6           into the policies and guidelines of the Board;
 7                  (11) a proposal to strengthen Cisco's oversight of its procedures
 8,          regarding the terinination of einployees, executives, and Board meinbers accused
 9           of discrimination;
10                  (12) a proposal to strengthen internal controls concerning
11           discrimination;
12                  (13) a proposal to eliminate the use of Non-Disclosure Agreements at the
13           Company so that current arid former employees can report any and all instances
14           of suspected discrimination without threat of legal action; and
15                  (14) a proposal to eliminate the use of mandatory arbitration for
16           employee disputes and claims of wrongful termination and discriinination.
17           C.     Extraordinary equitable and/or injunctive relief as permitted by law,
18 I equity, and state statutory provisions sued hereunder, including attaching,

19    impotinding, imposing a constructive trust on, or otherwise restricting the proceeds of
20    Defendants' trading activities or their other assets so as to assure that Plaintiff on behalf
21. I of Cisco has an effective remedy;

22           D.     Awarding to Cisco restitution from Defendants, and each of them, and
23    ordering disgorgement of all profits, benefits, and other compensation obtained by
24    Defendants;
25           E.     Awarding punitive damages at the maximum amount permitted by Iaw;
26           F.     Awarding to Plaintiff the costs and disbursements of the action, including
27    reasonable attorneys' fees, accountants' fees, experts' fees, costs, and expenses; and
28
                                                   62
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 i■           G.     Granting such other and further relief as the Court deeins just and proper.
 2
                                      DEMAND FOR JURY TRIAL
 3
              Plaintiff, on behalf of Cisco, hereby demands a trial by jury of all issues that are
 4
       subject to adjudication by a trier of fact.
 5
       I Dated: September 24, 2020                        Respectfully submitted,
 6
                                                          BOTTINI & BOTTINI, INC.
 7
                                                          Francis A. Bottini, Jr. (SBN 175783)
                                                          Anne B. Beste (SBN 326881)
 8
                                                          Albert Y. Chang (SBN 296065)
                                                          Yury A. Kolesnikov (SBN 271173)
 9

10                                                                  s/ Francis A. Bottini, Jr.
                                                                     Francis A. Bottini, Jr.
11
                                                          7817 Ivanhoe Avenue, Suite 102
12                                                        La Jo11a, California 92037
                                                          Telephone: (858) 914-2001
13                                                        Facsimile:    (858) 914-2002
                                                          Email:        fbottini@bottinilaw.com
14                                                                      abeste@bottinilaw.com
                                                                        achang@bottinilaw.com
15                                                                      ykolesnikov@bottinilativ. con

16                                                        Attorneys for Plaintiff Edzoard Sanc.hez

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       I SHAREHOLDER DERIVATIVE COMPLAINT
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                                         G UIDELINES AND PROTOCOLS

                                    COMPLEX CIVIL LITIGA TION DEPA R TMENT



    Welcome to the .Complex Civil Litigation Departments of the Superior Court of California, County of
    Santa Clara. Ours is one of few Superior Coui-ts selected by the California Judicial Council where case
    management'principles designed to reduce the time and expense normally associated with complex civil
    litigation cases have been employed.

:   Counsel are expected to be familiar with the applicable California Rules of Court, Local Rules — Superior
    Court of California. - County of Santa Clara, The Santa Clara County Bar Association Code of
    Professionalism, and the Deskbook on the Management of Complex Civil Litigation. Familiarity with-
    these guidelines and protocols will answer common procedural questions and should assist you in your
    appearances in, these Departments. Note: Tlzese Guidelines and Protocols are revised from previous
    versions. Your thoughts and suggestions are always welcome: Significant practice highlights include:

            The website for tlze Complex Departments is now integrated into the Court's site,
    wwiV.scscoaart. or*'U.

            Tentative rulings on motions of all types are posted online by 2:00 p.m. the day before the
    hearing, and, unless an objection is properly raised by 4:00 p.m. the day before the hearing, the ruling
    will autonzatically become the Court's order the next day. For specific information, go to:
    http://www.scscoccrt.or,/online sei-vices/tentatives/tentative rulinQs.shtml and select the appropriate
    department.

           Ex parte hearings. require advance reservation with the Coordinator. Letter briefs are not
    acceptable.

            Case management conference statements are to. be in a combined format; see VII 3..

           No discovery nzotions may be filed until the parties have meaniizgfully met and conferred AND
    met with tlze Court for a face-to face Informal Discovery Conference.

           The Court requires detailed JOINT ps•e-trial statements in advance of a pre-trial conference
    wher"e counsel are expected to make concrete suggestions as to efftcient trial management; see XL




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                         PLAINTIFF MUST SERVE A COPY OF THESE GUIDELINES
                                WITH THE SUMMONS AND COMPLAINT.




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I.      CONTACT INFORMATION


        Departments 1 and 3—         Downtown Superior Courthouse, 191 N 1 S` Street,
                                     San Jose, CA 95113.

        Department 1:

        Judge                       Hon. Brian C. Walsh           408-882-2110
        Courtroom Clerk             Jee Jee Vizconde              408-882-2113
        Bailiff and Deputy Sheriff Franlcie Taranto               408-882-2111

        Department 3:

        Judge                       Hon. Patricia M. Lucas        408-882-2130
        Courtroom Clerk             Naomi Matautia                408-882-2133
        Bailiff and Deputy Sheriff Tina Han•ell                   408-882-2131


        Coordinator for Complex      Rowena Walker                 408-882-2286 rwalker@scscourt,org

        E-Filing Web Site:           http://www.sescourt.org/forms—and—fiIing/eflling.shtmI



Il.     INTRODUCTION

        Complex cases suitable for assignment to the Complex Civil Litigation Department are defined in
        Rule 3.400, California Rules of Court ("Rules" or CRC). Cases will be assigned to the Complex
        Civil Litigation Department, for all nurposes, includin2 discovery and trial, by the Court'.s own
        motion, or on motion of any of_the parties, pursuant to the procedures specified iri Rule 3.400.
        Motions for complexity determination shall be heard in the Complex Civil Litigation Department.
        It is within the Court's discretion to accept or reject.a case for complex designation.

        In general, cases assigned to the Complex Civil Litigation Department will be managed in
        accoulance with the principles set forth in the Deskbook on the Management of Complex Civil
        Litigation ("Deskbook").




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        III: COURTROOM DEMEANOR, CONDUCT AND ETIOUETTE


                1. The Court expects formality, civility and proper decorum at all times. Witnesses and parties
                are to be addressed and referred to by their surnames. COURTESY AND RESPECT TOWARDS
                EVERYONE IN THE COURTROOM IS REQUIRED. Advise all witnesses and parties to
                observe appropriate courtroom demeanor and punctuality. The civil and courteous treatment of
                courtroom staff and opposing counsel is a paramount professional obligation of counsel.

                The Santa Clara County Superior Court, by standing order, has adopted the Code of
                Professionalism of the Santa Clara County.Bar Association. Counsel are expected to be familiar
~               with the Code and use it as a guide for appropriate attorney behay.ior.

                2. All pagers, cell phones and other audible electronic devices must be TURNED OFF while in
                the courtroom whether or nof court is in session.

                3. Do not approach the clerk or reporter while court is in session for any reason.

                4. Objections, statements and arguments must be addressed to the Court rather than opposing
                counsel. Counsel may speak from the lectern (if present) or the counsel table. Counsel must stand
    ;           when objecting or addressing the Court. Counsel may approach any witnesses as necessary only
                with leave of Court.

                5. At the end of each day, counsel must clear work areas including the area in the rear of the
                courtroom.

                6. Use of the department's copier or telephone requires the Court's permission.

                7. It is counsel's responsibility to note the date and time set for any future hearing. Hearing,dates
                are set by contacting the Coordinator.

                8. Courtroom staff will not make copies at counsel's request unless directed to do so by the
                Court. Copy work completed by courtroom staff is subject to the.current per-page copy fee.

                9. If a peremptory challenge or challenge for cause is 'upheld,'the case will be referred to the Civil
                Supervising Judge for reassignment:




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IV. GENERAL MATTERS

        1. The Court expects all counsel to maintain regular communication with each other regarding
        hearing dates, progress of the case, and settlement possibilities. A condition of remaining in a
        complex department is that counsel will behave toward all counsel and other participants with
        civility, courtesy and professionalism, both in and out of court. -Meeting and conferring with
        opposing counsel on both procedural issues as well as substantive issues is mandated.

        2. .Continuances of hearing or trial dates are discouraged but may be necessary from time to time.
        Continuances of hearings and trial dates by stipulation are not permitted without prior approval of
        the Coui-t, and only to a date pre-approved by the Court. Please call the Coordinator for available
        dates before contacting other counsel. If preliminary approval is given, a written stipulation must
        be provided before the hearing or trial date. Faxed signatures on stipulations are permitted.

        3. In the event a case settles before a court hearing or trial date, parties must telephonically notify
        the Court as soon as the disposition is agreed upon and must file with the Complex Litigation"
        Department either a Notice of Settlement, Request for Dismissal, a Stipulation for Entry of
        Judgment or a Judgment on Stipulation that is ready for the Court's signature. If the applicable
        document is not ready, counsel must appear at the time scheduled for hearing and recite the
        settlement for the record.

        4. Cross-complainants must sei-ve a copy of these guidelines upon any new parties and give
        notice of any scheduled hearings and depositions at the time the cross-complaint is served.

        5. All actions classified as complex or provisionally complex are subject to the Court's Electronic
        Filing and Service Standing Order, unless exempted by order of the Court for good cause. Further
        information is posted on the Court's website at
        lattp://wtivtiv.scscour•t.or /fornzs_crncf filin.a/efilina.s/ztml.


V.      EX PARTE APPLICATIONS

        1. Ex parte appearances are discouraged except in unusual situations. Hearing dates must be
        coordinated with the Complex Coordinato'r. Strict compliance with CRC Rules 3.1200-3.1207 is
        required. In addition, the ex pai-te application and all supporting papers, including any proposed
        pleading, inotion or order shall be electronically submitted to the Court's website by noon the
        Court day before the scheduled ex parte hearing date:

        2. The Court is eager to assist counsel when specific problems arise that may not require a formal
        motion. To arrange a conference with the Court when all counsel agree to the advisability of such
        a discussion, please contact the Coordinator to reserve a time for the conference. In these




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        instances "letter briefs" are not acceptable, but briefs on court pleading paper not exceeding 3
        pages may be submitted.

        3. Though the Court prefers personal appearances by counsel, counsel may appear by telephone,
        with the Court's prior perinission, at counsel's expense.


VI. DISCOVERY

        1. The Court believes in open discovery in accordance with the law, but expects counsel to
        refrain from engaging in excessive and abusive discovery.

        2. Discovery meet and corifer obligations require an in-person conference between counsel. If a
        resolution. is not reached, pai-ties are required to meet and confer in person with the Court for all
        discovery-related hearings before filing any discovery motion, unless otherwise authorized by
        the Court. Each side must serve and lodge a short brief, limited to no more than 3 pages, two
        court days in advance of the meeting. To schedule an informal discovery conference (IDC) with
        the Court, please contact the Coordinator.

        3. Any dates given by the Court relating to this IDC process have no impact on statutory
        deadlines for filing motions or any other papers, including, but not limited to, the 45-day
        deadline for filing a motion to compel further responses. The party who files a discovery
        motion must address the motion's timeliness in its moving papers.

        4. Counsel and/or parties with full authority to resolve the discovery issue(s) must personally
        attend the IDC unless excused by the court..




VII. LAW AND MOTION

        1. Law and Motion matters are generally heard Fridays at 9:00 a.m.

        2. Counsel must first clear the hearing date with the other. parties before contacting the
        Coordinafor. You must provide the Court with the name of the case, the case number, type of
        hearing, hearing date requested, and name and telephone number of the filing attorney.

        3. Before the hearing of any motion, petition or application, all counsel and parties representing
        themselves shall communicate in a good faith effort to eliminate the necessity of the hearing.

        4. The Court values the importance of the training of the next generation of trial lawyers,
        which must include substantive speaking opportunities in court. The Court strongly



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         encourages the parties and senior attorneys to allow the participation of junior lawyers in all
         court proceedings, particularly in arguing motions.where the junior lawyer drafted or
         coritributed significantly to the motion or opposition.

         5. Motions or applications to seal must be heard no later than any motion relying on the materials
         for which sealing is sought. Upon denial of a motion or application to seal, the moving party must
         notify the Court that the materials are to be filed unsealed (CRC Rule 2.551(b)(b)) or refrain from
         relying on the materials, which will not be part of the record.

         6. When the Court sustains a demurrer or grants a motion to strike with leave to' amend and an
         arnended pleading is filed, the plaintiff or cross-complainant shall file with its opposition to any
         successive demurrer or motion to strike a redline comparing the amended pleading to the previous
         version of the pleading.

         7. Counsel for moving parties must notify the Court as soon as possible regarding any matter to
         be taken off calendar or continued. Notice of continuances of hearings must be provided by the
         moving party.


VIII. CASE MANAGEMENT CONFERENCE

         1. The first case management conference is generally scheduled one hundred twenty (120) days
         after the action is filed. Plaintiff is required to give notice of this conference date to all other
         parties.

         2. Case Management Conferences are generally heard Fridays at 10:00 a.m. and are scheduled as
         necessary to monitor the progress of the case and to assist counsel and the parties as the matter
         progresses. The parties should expect the Court to schedule a status conference approximately
         every 120 days.

         3. Judicial Council Form CM-110, Civil Case Management Statement (required by CRC
         3.725(c)), is not well-suited for complex cases. Instead, the parties shall file a joint case
         management statement no later than five calendar days prior to the hearing for each conference
         addressing the following subjects:

                  (a) a brief objective summary of the case,
                  (b) a summary of any orders from prior case management conferences and the progress of
                  the parties' compliance with said orders,
                  (c) significant procedural and practical problems which may likely be encountered,
                  (d) suggestions for efficient inanagement, including a proposed timeline of key events, and
                  (e) any otlier special consideration to assist the Court in determining an effective case
                  management plan.


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        A status conference statement may be filed as an alternative to the case management statement
        when appropriate. A status conference statement is generally less detailed than a case
        management statement and is to be used to advise the Court of progress or developments in the
        case which have occurred since the last review hearing.


IX. CASE MANAGEMENT AND REFERENCE ORDERS

        1. Case Management Orders are not required in all cases, but may be helpful in cases where the
        sequencing and tilning of key events are necessary in the management of the litigation and
        preparation of the case for trial. However, even if a case management order is not necessary in a
        particular case, all complex cases must be managed by counsel, or the court, or both.

        2. Mediation and Reference matters should not commence until all parties are before the Court
        but not later than six months after the original complaint was filed, except for good cause.

        3. Mediation and Reference matters should be concluded 12 months after their initiation
        (approximately 18 months after the original complaint was filed), except for good cause.

        4. Brevity in drafting the Order may help focus your case and assist in reaching the desired goal
        (i.e., early informed resolution of your case in a cost-effective manner).

        5. After a date is scheduled with the Court, it may not be continued by stipulation of the parties
        without the Court's consent.



X. MANDATORY SETTLEMENT CONFERENCES (MSC)

        l. If there is an objection to the trial judge's pat-ticipation in the mandatory settlement conference,
        counsel must advise the Court as soon as possible, and in no event, later than the date the MSC is
        set. No case will be tried before a good faith effort is made to settle. Mandatory settlement
        conferences set on the court's calendar are typically set at the time the trial is set, and generally,
        the final mandatoiy settlement conference takes place a week to two weeks before the first day of
        trial, typically on a Wednesday.

        2. Trial counsel, parties and persons with full authority to settle the case must personally attend
        unless excused by the Court. If insurance coverage is available to satisfy the plaintiff's settlement
        demand and a representative of defendant's insurer with full settlement authority attends the
        mandatory settlement conference with defendant's trial counsel, named defendants need not attend
        unless their personal consent is necessary to settle the case. Named defendants must also
        personally attend the mandatory settlement conference when (a) there is an insurance coverage


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        dispute; (b) plaintiff seeks to recover damages not covered by insurance; or (c) plaintiffls demand
        exceeds insurance policy limits. Failure to appear will result in the imposition of sanctions.
        Settlement Conference Statements must be filed at least five (5) court days before the scheduled
        conference (Rule 3.1380).

        3. Any request for a waiver of the requirement to personally appear at the MSC, whether
        conducted by the Court or a special master, must be made by written application to the Court.


XI. MINI-TRIALS

        There may be a pivotal issue, such as a special defense or evidentiary ruling, upon which the rest
        of the case depends. If counsel agree, the Court will set aside time before or during the trial to
        hear mini-trials on such issues. Time will be appropriately limited. Briefs and factual stipulations
        must be submitted in advance. Limited testimony may be taken, for example, as in an Evidence
        Code § 402 situation. Contact the Coordinator to' schedule a date and submit a stipulation signed
        by all counsel.


XII.    PRE-TRIAL CONFERENCE


        There will be a detailed pre-trial conference 10-15 days before trial to discuss procedural issues
        and preliminary matters in order to make the trial process as predictable and smooth as possible.

        The conference may be a time for the Coui-t to discuss trial evidence presentation and use of audio-
        visual equipment. The conference is not for the purpose of hearing motions in limine. An example
        of an issue for the conference: Product liability case in which the manner of presenting the
        underlying case is of concern. Will the Court allow counsel to read the transcript into tlie record?
        Live testimony? A combination of transcript and live testitnony? Is a trial by jury requested?

        At least 10 days before the pretrial conference, counsel shall meet and confer and execute
        necessary documents listed below. Counsel shall meet in person at a mutually agreeable titne and
        location.

        At the meet and confer, the pai-ties shall:




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        1. Prepare a Joint Statement of the Case.

        2. Prepare a Joint Witness List, excluding irnpeachment or rebuttal witnesses, with accurate time
        estimates.

        Witness lists should not be exaggerated. Only witnesses that a party expects to actually call should
        be listed, with a brief synopsis of the proposed testimony. In addition to the list contained in the
        statements, each list should also be prepared in the form attached as follows. Witnesses should be
        listed last name first. Titles (e.g. Dr., Officer) should be placed'after the comma following the last
        name. This is so that lists can be sorted correctly.

        As noted above, Counsel should include in their witness list the amount of time they expect to
        spend on direct examination of each witness. The amount of time should be stated in minutes (not
        days or hours). Counsel must also be prepared to state at the conference how much time they will
        require for cross-examination of each witness identified on the other party's list.

        At the conference the Court will make separate arrangements for the preparation of a joint list, for
        jury selection purposes, of possible witnesses and persons or entities who might otherwise be
        mentioned at trial.


         Format for Witness Lists

        Plaintiffs' List


                                Party
                                          Direct   Cross     Redirect
        Witness                 (P or                                 Total        Subject
                                D         (min.)   (min.)    (min.)

                                                                                   Formation of
        Smith, John             P         20       30        5          55
                                                                                   contract


        Brown, Nancy            P         15       20        5          40         Breach of contract


        White, Ron              P         70       10        15         95         Damages

                                                                                   Formation of
        Black, Peter            P         60       30        15         105
                                                                                   contract
                                P         120      100       30         250        Damages•


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        Garcia, Dr. Ruth

                                                                     Arrest of Susan
        Rogers, Officer Ted     P     60      30      10       100
                                                                     Petersen




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        Defendant's List


                                Party
                                         Direct   Cross    Redirect
        Witness                 (P or                               Total     Subject
                                D        (min.)   (min.)   (min.)

                                                                              Formation of
        Doe, Edward             D        20       10       5        35
                                                                              contract


         Cliang, Sam            D        75       30       15       120      Damages


        Mai-tin, Dr. Eric       D        120      60       30       210      Damages




        3. Exchange exhibits and inspect photos and diagrams (to be submitted on the date of trial),
        excluding those contemplated to be used for impeachment or rebuttal. Stipulate to all facts
        amenable to stipulation.

        4. Prepare a Joint List of Controverted Issues. If all the parties fail to agree to an issue as
        controverted or uncontroverted, then the issue is controverted. (Required for both jury and non-
        jury trials).

        5. Exchange all motions in limine.

        6. Prepare voir dire questions for the Court to include when examining the panel.

        7. Execute the Statement of Compliance indicating counsel has complied with the Local Rules
        and these Guidelines.

        8. Pr,epare joint proposed jury instructions (CACI only) and verdict forms, and exchange
        disputed instructions.

        The above items, including opposition to motions in limine, trial briefs and the Statement of '
        Compliance signed by all counsel, shall be submitted to the Complex Civil Litigation Coordinator
        no later than noon on the 15t court day before the date set for trial, or such other time and
        date set by the Court.




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XIII. TRIALS - GENERALLY

        1. General Matters — the following applies to all trials (jury and non-jury):

            a.      Trials generally will proceed four days a week as follows: Monday through Thursday
                    (9:00 a.m. to 4:30 p.m.). The Court will provide the parties, generally at the conclusion
                    of the Mandatory Settlement Conference, a proposed trial schedule.

            b.       Juiy deliberations will proceed five days a week, from 9:00 a.m. to 4:30 p.m.

                    Trial attorneys should be in the courtroom 30 minutes prior to the start of each morning
                    session, unless another time is agreed upon by the Court. Counsel should expect that
                    the court will take appropriate action if counsel is late for any appearance and does not
                    have a justification for a late appearance.

            d.      Before rearranging tables or other courtroom furniture, or installing equipment such as
                    projectors or screens, permission must first be obtained from the bailiff or the Court.

                    Unless the Court expressly advises otherwise, counsel may not approach a witness who
                    is testifying to hand the witness exhibits, or to help the witness locate portions thereof,
                    without first obtaining the Court's permission.

            f.      Counsel must advise opposing counsel and the Court of the identity of each witness
                    intended to be called by 4:30 p.m. the day preceding the time for the witness or
                    witnesses to testify.

            g.      Counsel presenting their case shall be expected to have witnesses ready to call through
                    at least 4:30 p.m., and may be deeined to have rested their case if they are not prepared
                    to proceed. , Counsel shall advise the Court imme,diately of any circumstances which
                    may prompt a request for a modification of the established trial schedule.

            h.      Counsel should advise the Court at the outset of the proceedings, or as soon as the issue
                    becomes apparent, of any legal issues or evidentiary matters that counsel anticipate will
                    require extended time for consideration or hearing outside the presence of the jury.

                    If during the course of trial, counsel wish to discuss a matter with the Court_ and
                    opposing counsel outside of the presence of the jury, counsel MUST advise the Court
                    of this request at the conclusion of the preceding court session and NOT iminediately
                    before proceedings are scheduled to resume.



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            j.,      The amount of jury fees required to be posted in advance of a jury trial is $150.00. CCP
                     §631(b). If a case settles after jury fees have been deposited, the jury fees will not be
                     returned unless the Court is notified of the settlement by 2:00 p.m. on the court day
                     preceding the trial date for which the deposit was made.

            lc.      The court does not provide court reporters in complex civil cases. See General Local
                     Rule 7. If one or more parties privately arrange for court reporter services, the failure of
                     such court reporter to appear will not be grounds for continuing or delaying a trial or
                     other proceedings.

                     Counsel must confer in advance of the trial, attempt to stipulate on as many issues and
                     facts as possible, and reduce all stipulations to writing. The written stipulation is filed
                     and during jury trials is read aloud into the record.

            M.       The Court strongly encourages the parties and senior attorneys to permit junior
                     lawyers to have an important role at trial, including the examination of witnesses.




        2. Documents

                  Unless the case was settled at the'Mandatory Settlement Conference or dismissed in full
                  prior thereto, or unless otherwise ordered by the Court, the following items must be lodged
                  in the department of the trial judge or, if none, with the Complex Civil Coordinator, and
                  served on all other parties by noon on the last court day before the date set for trial:


                         (1) all in limine motions and a list of the in limine motions;

                         (2) exhibit lists/indices, except impeachment exhibits;

                         (3) witness lists, except impeachment witnesses, and unusual scheduling problems;
                         each witness listed shall include a succinct (no more than one or two sentences)
                         statement of the general subject matter of the witness' testimony and an estimate of
                         the time that will be required for the direct examination of each such witness;

                         (4) jury instruction requests, except for instructions that cannot reasonably be
                         anticipated prior to trial;

                         (5) proposed special verdicts;



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                         (6) any stipulations on factual or legal issues;

                         (7) a concise, non-argumentative statement of the case to be read to the jury in jury
                         trials;

                         (8) trial briefs;

                         (9) the original of all deposition transcripts to be used during the course of the trial.
                         If counsel anticipates reading from the deposition transcript for any purpose other
                         than impeachment, counsel must deliver to opposing counsel a written specification
                         of the pages and lines proposed to be read.

                An extra copy of all the above documents (except deposition transcripts) shall be delivered
                to the courtroom clerk on the morning of the trial for use by the clerk.

                Counsel seeking to display to the jury any exhibit which required time and equipment to
                obsei-ve, such as slides, transparencies, movies, videotapes and audiotapes, MUST make
                such exhibit available to opposing counsel for review prior to commencement of the
                session of court at which the exhibit will be used. Proceedings will not be delayed to
                permit such a review if the review has not occurred by the time court is scheduled to begin.


        3. Technology

                Counsel must meet and confer regarding the use of computers, projectors, screens and
                other forms of equipment for showing evidence to the jury or Court. Counsel must confer
                with court staff regarding the placement and use of any such equipment.

        4. Stipulations

                Prior to the commencement of trial, all counsel will be requested to stipulate:

                1. At the commencement of eacli session of the Court, all parties, attorneys and jurors are
                   present unless otherwise indicated.

                2. After the first occasion on which the jury has been admonished not to discuss or
                   prejudge the case in conformity with CCP § 611, the jury will be deemed to have been
                   so adinonished at every subsequent recess or separation without the need for further
                   admonition; -and

                3. Reporting of juror voir dire and jury instructions are waived.



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        5. Opening and Closing Arguments

                a.       Counsel should avoid discussing routine matters of court procedure, such as the
                         sequence of trial, in opening statements and closing arguments. These matters will
                         be covered by the Court and need not be repeated by counsel.

                b.       Do not display charts, diagrams or proposed exhibits to the jury until they have
                         been shown to opposing counsel outside of the presence of the jury. If opposing
                         counsel indicates no objection, the exhibits or other object may be displayed to the
                         jury without first requesting Court approval. If opposing counsel objects, the
                         exhibit or object may not be displayed without Court approval, which must be
                         requested outside the presence of the jury.


        6. Examination of Witnesses


                a. Obiections: Counsel should only state the legal ground(s) of objection and, unless the
                Court specifically requests explanation or argument, should refrain from argument,
                elaboration, or any other form of extended objection-malcing. Counsel may request
                permission to approach the side bar to present argument, but should not approach unless
                and until the Court grants the request.


                b. When calling a witness to testify under Evidence Code section 776, do not announce in
                the presence of the jury that the witness being called under this provision or as a"hostile"
                or "adverse" witness. Simply proceed with the examination of the witness; the Court will
                rule upon the applicability of section 776 only if such a ruling is required by an objection
                asserted by opposing counsel.


                c. Do not propose a stipulation to opposing counsel in the hearing of the jury unless there
                is prior agreement of counsel.

        7. Transcripts

                        If counsel ariticipates requesting a transcript of the testimony of any witness or
                        other proceedings during the course of trial, arrangements should be made with the



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                         court reporter in advance so that arrangements can be made to obtain a second court
                         reporter if necessary.

                b.       If counsel requests any court reporter to prepare a transcript of any portion of the
                         proceedings, counsel MUST contemporaneously advise opposing counsel of the
                         request and of the precise portions that will be transcribed.

        8. Jury Trials

                a.       Motions in limine and other trial-related preliminary motions (such as Evidence
                         Code § 402) must be submitted in writing before answering ready. Motions in
                         limine may be ruled on by the Court without hearing. Such motions should be brief
                         and should address speciftc subject matter. See Amtower v. Photon Dynamics, Inc:,
                         (2008) 158 Ca1.App.4t" 1582.

                b.       CACI instructions are to be used. Submit proposed instructions in Word format.
                         When reasonably possible, marlc up the official version rather than retyping so the
                         changes are apparent to the Court and other counsel. The Court may send at least 4
                         "clean" sets of instructions provided by counsel into the jury room. "Clean" rneans
                         just the text of the instruction, as corrected. Plaintiff has the primary, but not
                         exclusive, responsibility to.provide the "clean" sets, in binders.

                C.       Counsel should consider stipulating that the determination as to which members of
                         the trial jury shall be alternates will be determined by random draw of names
                         immediately before deliberations commence. If counsel so stipulate, the size of the
                         panel selected at the outset of trial will be 12 plus the number of alternates expected
                         to be needed, with the peremptory challenges allotted to each side increased by the
                         number of jurors in excess of 12.

                d.       Hardship Reguests - Requests by members of the panel to be excused on the ground
                         of undue hardship will be considered by the court prior to beginning voir dire
                         examination.

                         Jury selection proceeds generally under the "6 pack" method, modified to fit the
                         case. Court and counsel will work out the management of voir dire in accordance
                         with CCP § 225.5 to fit the circumstances of the case. Counsel may submit specific
                         juror questions for the Court to consider asking during voir dire.

                f.       Voir dire examination will initially be directed to 18 or more members of the jury
                         panel seated in the jury box: Any of these 18 or more panel members excused for
                         cause will be replaced by additional panel members before peremptory challenges
                         begin. Peremptory challenges will then proceed, directed to the first 12 panel
                         meinbers, who will be replaced by the next six panel members in order as any of


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                         the 12 are peremptorily challenged. The peremptory challenges will continue until
                         the panel seated in the jury box is reduced to 11 members, at which time additional
                         panel members (normally an additional seven) will be selected and examined prior
                         to resuming peremptory challenges. Whenever there are successive passes froin all
                         parties who have not exhausted their challenges, or all parties exhaust their
                         challenges, the jury has been selected and will be sworn. The same process will
                         then continue for the selection of alternate jurors.

                g.       A11 challenges for cause will be heard out of the hearing of the jury panel.

                h.       The Court will initiate voir dire examination. Upon completion of the judge's
                         examination, Counsel will have the right to examine the jurors within reasonable
                         time limits prescribed by the trial judge.

                         The Court preinstructs the jury once it is empaneled. CACI Instructions relating to
                         the basic responsibilities of the jurors, management of evidence and the like will be
                         given and, in most cases, repeated at the close of trial.

                         Objections of any kind are to be addressed to the Court (not to other counsel) with a
                         concise statement of the legal grounds. Argument on the objection without
                         invitation by the Coui-t is not permitted. Advise the Court if argument is necessary
                         for the record.

                k.       Make no references to charts, inodels, blowups or other demonstrative evidence in
                         front of the jury unless: (a) it is in evidence; (b) counsel have previously stipulated
                         the item is in evidence; or (c) you have leave of Court to use the reference.

XIV. TRIAL EXHIBITS

                Introduction

                a. The electronic representations of such exhibits may be presented to the Jury/Court as
                substitutes for the exhibits themselves. Counsel should keep in mind that one of the
                purposed of the complex project is to enhance the orderly presentation of evidence to the
                fact finder, and to maintain the record for potential post trial proceedings.

                b. Exhibits may be in either electronic or physical form. Physical exhibits are not
                required to be presented in a digitized format. However; at the conclusion of trial the court
                may order that a photo be substituted and stored electronically in lieu of the physical
                evidence.

                c. Parties inust exchange exhibits excluding documents for bona fide impeachment at the
                Pre-Trial Meet and Confer. Each counsel must provide the Court with an EXHIBIT LIST


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                describing each exhibit, indicating whether the exhibit is to be admitted into evidence by
                stipulation.

                d. Counsel must submit to the Clerk original negotiable instruments for cancellation
                pursuant to Rule 3.1806, unless othei-wise ordered by the Court.

        2. Submission of Exhibits

                a. Counsel must provide the Court with the exhibits, plus one copy. Exhibits will be
                marked by the Clerlc, as they are identified, in chronological order. Exhibits shall not be
                pre-marlced by counsel.

                b. Enlargements and transparencies normally will not be admitted into evidence. Any
                large'exhibit or transparency should be accompanied by an 8`/z x 11 version to which the
                exhibit tag is attached. Models, etc. should be photographed if proposed as exhibits. Be
                sure to discuss evidentiary issues of this nature with opposing counsel.

                c. Interrogatories and Requests for Admissions which are expected to be used at trial must
                be extracted and lodged with the Court, and a copy given to counsel, at the appropriate
                time. In jury trials, questions and answers must be read into the record, subject to proper
                objections. The extracts may be submitted as exhibits in a Court trial. In no case will
                entire sets of written discovery documents be lodged or received.

                d. Before trial commences, counsel will be asked to sign a stipulation for the return and
                maintenance of exhibits when the trial is completed. Plaintiff will maintain joint exhibits;
                unless otherwise stipulated.


        3. Use of Deposition Transcripts

                a. Deposition transcripts which are expected to be used at trial must be lodged with the
                Court on the first day of trial. Pertinent provisions must be read into the record in jury
                trials, subject to proper objections. In Court trials, extracts may be submitted and marked
                as exhibits. In no case will an entire transcript be received.




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CURRICULUM VITAE FOR JUDGE BRIAN C. WALSH

                                          Judge Brian C. Walsh
                                       Superior Court of California
                                          County of Santa Clara
                                          191 North First Street
                                        San Jose, California 95113
                                              Department 1
                                              408-882-2110


JUDICIAL CAREER:

                         Appointed to the Superior Court December 15, 2000
                         --Elected to 6-year terms (unopposed): 2002, 2008, 2014
                         Complex Civil Litigation, 2017-
                         Presiding Judge, 2013-14
                         Assistant Presiding Judge, 2011-12
                         Civil Trials, 2003-04, 2007-09, 2011-12, 2015-16
                         Family Law, 2009-10
                         Felony Trials, 2005-07
                         Appellate Division, 2005
                         Supervisor, Misdemeanor D'arect Calendars, 2002-03
                         Misdemeanor Direct Calendar, 2001

                         6tl' DCA, Pro Tem Justice:
                                June 1-November 30, 2016
                                June 1-September 30, 2015
                                July 1-December 31, 2011
                                May 1, 2004-January 17, 2005

                         California State-Federal Judicial Council, 2003-present .
                         Language Access Plan Implementation Task Force, 2015-present
                         Chair, Trial Court Pre.siding Judges' Advisory Committee, 2013-2014
                         Member, Judicial Council of California, 2013-2014
                         Chair, Task Force on Trial Court Fiscal Accountability 2013-2014
                         Supreme Court Judicial Ethics Advisory Comm., 2002-2013
                         Financial Accountability & Efficiency Comm. ("A & E"), 2011-2013
                         Trial Court Budget Advisory Committee, 2013-2014
                         --Funding Methodology (WAFM) Subcommittee, 2012-2014



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                         Judicial Branch Budget Advisory Committee, 2002-03
                         Chief Justice Task Force on ACA 1(Judicial Elections), 2001
                         California Judges' Association, 2000-present
                         State Bar Attorney Civility Task force, 2006-08
                         State Bar Task Force on Support for Legal Services, 2006-08


                         2016 State Bar of California Professional Responsibility Award
                         2014 Outstanding Jurist Award, Santa Clara County Bar Association
                         2012 Trial Judge of the Year, Santa Clara County Trial Lawyers
                         2002 Salsman Award: Contributions to Community/Profession


EDUCATION:
                         Boalt Hall School of Law ,
                         University of California at Berkeley
                         J.D., 1972

                         University of Notre Dame
                         B.A., 1969


Date of Birth: November 11, 1947 (San Jose, California)




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CURRICULUM VITAE JUDGE PATRICIA M. LUCAS

                                     Judge Patricia M. Lucas
                                   Superior Court of California
                                     County of Santa Clara
                                     191 North First Street
                                   San Jose, California 95113
                                        Department 3
                                        408-882-2130


JUDICIAL CAREER:
               Appointed to the Superior Court December 20, 2002
               Elected to 6-year terms (unopposed): 2004, 2010, 2016
               Complex Civil Litigation, 2020-
               Presiding Judge, 2017-18
               Assistant Presiding Judge, 2015-16
               Civil Trials, 2013, 2016
               Civil Pretrial Case Management, 2011-12, 2014-15
               Civil Discovery/Trials, 2004
               Supervising Judge, Civil Division, 2014-15
               Family Law, 2005-08
               Supervising Judge, Family Division, 2006-08
               Appellate Division, 2004, 2013
               Presiding Judge, Appellate Division, 2013
               Criminal Trials, 2003, 2009-10
               Temporary assignment on the Sixth District Court of Appeal, 2011

                         Chair, Trial Court Presiding Judges Advisory Committee, 2017-18
                         Member, Judicial Council of California, 2017-18
                         B. E. Witkin Judicial College of California: Dean, 2017-18
                                Associate dean, 2015-16
                                Faculty, 2004 to present
                                Seminar• leader, 2005-06 and 2009-2014
                         Faculty/Seminar Leader, New Judge Orientation, 2005 to present
                         Faculty, CJER Civil Law Institute, 2006 to present
                         Member, CJER New Judge Educ./Judicial College Steering Committee;
                                New Judge Orientation Working Group;
                                Experienced Judge Working Group (chair)
                         Member, CJER Governing Committee, 2005, advisory member, 2015-18
                         Member, Judicial Council Civil & Small Claims Advisory.Committee,



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                         2006-2015 (chair, 2013-15)
                         Member and vice-chair, Judicial Council Court Facilities Advisory
                         Committee, 2011 to present
                         Member, Elkins Family Law Task Force and Implementation Task Force,
                         2008-12
                         Instructor,lVational Institute for Trial Advocacy, 1990 to present

                         Private practice, complex civil litigation, 1979-2003
                         University of California, Berkeley, J.D.
                         Rice University, B.A.




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                                                                                                       ATTACHMENT CV-5012
C1161L LAWSUIT N®TICE                                                                           20CV370823
Superior Court of California, County of Santa Clara                      CAS E N U M B E R:
191 North First St., San Jose, CA 95113

                                    PLEASE READ THIS ENTIRE FORM

PLAINTIFF (the person suing): Within 60 days after filing the lawsuit, you must serve each Defendant with the Complaint,
Summons, an Alternative Dispute Resolution (ADR) Information Sheet, and a copy of this Civil Lawsuit Notice, and you must file
written proof of such service,


   DEFENDANT (The person sued): You must do each of the following to protect your rights:

   1.  You must file a written response to the Complaint, using the proper legal form or format, in the Clerk's Office of the
       Court, within 30 days of the date you were served with the Summons and Complaint,
   2, You must serve by mail a copy of your written response on the Plaintiff's attorney or on the Plaintiff if Plaintiff has no
       attorney (to "serve by mail" means to have an adult other than yourself mail a copy); and
   3. You must attend the first Case Management Conference,
         Warning: If you, as the Defendant, do not follow these instructions, you may automatically lose this case.




RULES AND FORMS: You must follow the California Rules of Court and the Superior Court of California, County of
<_CountyName_> Local Civil Rules and use proper forms. You can obtain legal information, view the rules and receive forms, free
of charge, from the Self-Help Center at 201 North First Street, San Jose (408-882-2900 x-2926).

     ■ State Rules and Judicial Council Forms: www.courtinfo.ca.gov/forms and www.courtinfo.ca.gov/rules
     ■ Local Rules and Forms: Iittp:l/www.sccsuperiorcourt.org/civil/rule1toc.htm

CASE MANAGEMENT CONFERENCE (CMC): You must meet with the other parties and discuss the case, in person or by
telephone at least 30 calendar tlays before the CMC. You must also fill out, file and serve a Case Management Statement
(Judicial Council form CM-110) at least 15 calendar days before the CMC.

          You or your attorney must appear at the CMC. You may ask to appear by telephone — see L ocal Civil Rule 8,


    Your Case Management ludge is:         Hon. Brian C. Walsh                                Department:        '

    The 15' CMC is scheduled for: (Completed by Clerk of Court)

                                Date:   1/21/21            Time:    2:30 pm               in Department:         1

    The next CMC is scheduled for: (Completed by party if the 1 5t CMC was continuetl or has passed)

                                Date:                       Time:                         in Department;


ALTERNATIVE DISPUTE RESOLUTION (ADR): If all parties have appeared and filed a completed ADR Stipulation Form (local
form CV-5008) at least 15 days before the CMC, the Court will cancel the CMC and mail notice of an ADR Status Conference.
Visit the Court's website at www.sccsuperiorcourt.org/civil/ADRI or call the ADR Administrator (408-882-2100 x-2530) for a list of
ADR providers and their qualifications, services, and fees.

WARNING: Sanctions may be imposetl if you do not follow the California Rules of Court or the Local Rules of Court.




CV-5012 REV 08/01/16                                CIVIL LAWSUIT NOTICE                                                    Page 1 of 1
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                                 SANTA CLARA COUNTY SUPERIOR COURT
                                   ALTERNATIVE DISPUTE RESOLUTION
                                         INFORMATION SHEET

Many cases can be resolved to the satisfaction of all parties without the necessity of traditional litigation, which can be expensive, time
consuming, and stressful. The Court finds that it is in the best interests of the parties that they participate in alternatives to traditional
litigation, including arbitration, mediation, neutral evaluation, special masters and referees, and settlement conferences. Therefore, all
matters shall be referred to an appropriate form ofAlternative Dispute Resolution (ADR) before they are set for trial, unless there is good
cause to dispense with the ADR requirement.

What is ADR?
ADR is the general term for a wide variety of dispute resolution processes that are alternatives to litigation. Types of ADR processes
include mediation, arbitration, neutral evaluation, special masters and referees, and settlement conferences, among others forms.

What are the advantages of choosing ADR instead of litigation?
ADR can have a number of advantages over litigation:

   •     ADR can save time. A dispute can be resolved in a matter of months, or even weeks, while litigation can take years.

   •     ADR can save money. Attorney's fees, court costs, and expert fees can be reduced or avoided altogether.

   •     ADR provides more participation. Parties have more opportunities with ADR to express their interests and concerns, instead
         of focusing exclusively on legal rights.

   •     ADR provides more control and flexibility. P,arties can choose the ADR process that is most likely to bring a satisfactory
         resolution to their dispute.

   •     ADR can reduce stress. ADR encourages cooperation and communication, while discouraging the adversarial atmosphere of
         litigation. Surveys of parties who have participated in an ADR process have found much greater satisfaction than with parties
         who have gone through litigation.

What are the main forms of ADR offered by the Court?
 Mediation is an informal, confidential, flexible and non-binding process in the mediator helps the parties to understand the interests of
everyone involved, and their practical and legal choices. The mediator helps the parties to communicate better, explore legal and practical
settlement options, and reach an acceptable solution of the problem. The mediator does not decide the solution to the dispute; the parties
do.

Mediation may be appropriate when:
   •     The parties want a non-adversary procedure
   •     The parties have a continuing business or personal relationship
   •     Communication problems are interfering with a resolution
   •     There is an emotional element involved
   •     The parties are interested in an injunction, consent decree, or other form of equitable relief

Neutral evaluation, sometimes called "Early Neutral Evaluation" or "ENE", is an informal process in which the evaluator, an experienced
neutral lawyer, hears a compact presentation of both sides of the case, gives a non-binding assessment of the strengths and weaknesses
on each side, and predicts the likely outcome. The evaluator can help parties to identify issues, prepare stipulations, and draft discovery
plans. The parties may use the neutral's evaluation to discuss settlement.

Neutral evaluation may be appropriate when:
  •      The parties are far apart in their view of the law or value of the case
   •     The case involves a technical issue in which the evaluator has expertise
   •     Case planning assistance would be helpful and would save legal fees and costs
   •     The parties are interested in an injunction, consent decree, or other form of equitable relief

                                                                   -over-




cv-eoosREvsizsns                ALTERNATIVE DISPUTE RESOLUTION INFORMATION SHEET
                                                  CIVIL DIVISION
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Arbitration is a less formal process than a trial, with no jury. The arbitrator hears the evidence and arguments of the parties and then
makes a written decision. The parties can agree to binding or non-binding arbitration. In binding arbitration, the arbitrator's decision is final
and completely resolves the case, without the opportunity for appeal. In non-binding arbitration, the arbitrator's decision could resolve the
case, without the opportunity for appeal, unless a party timely rejects the arbitrator's decision within 30 days and requests a trial. Private
arbitrators are allowed to charge for their time.          I




Arbitration may be appropriate when:
   •      The action is for personal injury, property damage, or breach of contract
   •      Only monetary damages are sought
   •      Witness testimony, under oath, needs to be evaluated
   •      An advisory opinion is sought from an experienced litigator (if a non-binding arbitration)

Civil Judge ADR allows parties to have a mediation or settlement conference with an experienced judge of the Superior Court. Mediation
is an informal, confidential, flexible and non-binding process in which thejudge helps the parties to understand the interests of everyone
involved, and their practical and legal choices. A settlement conference is an informal process in which the judge meets with the parties or
their attorneys, hears the facts of the dispute, helps identify issues to be resolved, and normally suggests a resolution that the parties may
accept or use as a basis for further negotiations. The request for mediation or settlement conference may be made promptly by stipulation
(agreement) upon the filing of the Civil complaint and the answer. There is no charge for this service.

Civil Judge ADR may be appropriate when:
   •      The parties have complex facts to review
   •      The case involves multiple parties and problems
          The courthouse surroundings would he helpful to the settlement process

Special masters and referees are neutral parties who may be appointed by the court to obtain information or to make specific fact
findings that may lead to a resolution of a dispute.
Special masters and referees can be particularly effective in complex cases with a number of parties, like construction disputes.

Settlement conferences are informal processes in which the neutral (a judge or an experienced attorney) meets with the parties or their
attorneys, hears the facts of the dispute, helps identify issues to be resolved, and normally suggests a resolution that the parties may
accept or use as a basis for further negotiations.
Settlement conferences can be effective when the authority or expertise of thejudge or experienced attorney may help the parties reach a
resolution.

What kind of disputes can be resolved by ADR?
Although some disputes must go to court, almost any dispute can be resolved through ADR. This includes disputes involving business
matters; civil rights; collections; corporations; construction; consumer protection; contracts; copyrights; defamation; disabilities;
discrimination; employment; environmental problems; fraud; harassment; health care; housing; insurance; intellectual property; labor;
landlord/tenant; media; medical malpractice and other professional negligence; neighborhood problems; partnerships; patents; personal
injury; probate; product liability; property damage; real estate; securities; sports; trade secret; and wrongful death, among other matters.

Where can you get assistance with selecting an appropriate form of ADR and a neutral for your case, information about ADR
procedures, or answers to other questions about ADR?

Contact:
Santa Clara County Superior Court                                                 Santa Clara County DRPA Coordinator
ADR Administrator                                                                 408-792-2784
408-882-2530




CV-5003 REV6/26/13               ALTERNATIVE DISPUTE RESOLUTION INFORMATION SHEET
                                                   CIVIL DIVISION
